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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK


 IN RE DANIMER SCIENTIFIC, INC.
 SECURITIES LITIGATION                   Master File No. 1:21-cv-02708- MKB-RLM

                                         CONSOLIDATED COMPLAINT FOR
 THIS ACTION APPLIES TO:                 VIOLATIONS OF THE FEDERAL
 ALL ACTIONS                             SECURITIES LAWS



                                         CLASS ACTION




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          Lead Plaintiff James Swanson and additional plaintiff Joseph Burtner (“Plaintiffs”), by and

 through their undersigned counsel, bring this action under the Securities Act of 1933 (the

 “Securities Act”) and the Securities Exchange Act of 1934 (the “Exchange Act”) on behalf of

 themselves and a class of other similarly situated investors against Danimer Scientific, Inc.

 (“Danimer” or the “Company”) and the other Defendants named herein. Plaintiffs allege the

 following based upon personal knowledge as to themselves and their own acts, and upon

 information and belief as to all other matters. Plaintiffs’ information and belief is based on the

 ongoing investigation of their undersigned counsel, which includes review of: Defendants’ press

 releases, conference call transcripts, filings with the U.S. Securities and Exchange Commission

 (“SEC”), and other public statements; information obtained through requests for information under

 Georgia Open Records Act and Kentucky Open Records Act; news stories, analyst reports and

 other public information concerning Danimer and/or the industry within which it operates; and

 information obtained from confidential witnesses.

                        I.    NATURE AND SUMMARY OF THE ACTION

          1.       This securities class action is brought on behalf of a class consisting of (i) all

 persons or entities who purchased or otherwise acquired Danimer and/or Live Oak Acquisition

 Corp. (“Live Oak”) securities during the period October 5, 2020 to May 4, 2021, inclusive (the

 “Class Period”); (ii) all holders of Live Oak Class A common stock entitled to vote on the De-

 SPAC Transaction between Danimer and Live Oak consummated on December 28, 2020 (defined

 below); and (iii) on behalf of investors who purchased or otherwise acquired Danimer Securities

 pursuant to the De-SPAC Registration Statement, or the February 2021 Offering Registration

 Statement (both defined below) (the “Class”).1


     1
      Excluded from the Class are Defendants herein, the officers and directors of the Company,
 at all relevant times, members of their immediate families and their legal representatives,



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          2.       Plaintiffs bring claims on behalf of the Class against Danimer and certain of its

 current and former officers and directors, and certain former officers and directors of Live Oak

 (collectively, “Defendants”) for violations of Sections 10(b), 14(a), and 20(a) of the Exchange Act,

 15 U.S.C. §§ 78j(b), 78n(a), and 78t(a) and Rules 10b-5(a)-(c) and 14a-9, promulgated thereunder,

 17 C.F.R. § 240.10b-5 and 17 C.F.R. §240.14a-9; and Sections 11, 12 and 15 of the Securities Act

 (15 U.S.C. §§ 77k, 77l and 77o).

          3.       This action arises from a series of materially false and misleading statements, or

 material omissions by Live Oak, a special purpose acquisition company (“SPAC”)2, and Danimer,

 its target acquisition, which misled investors into investing hundreds of millions of dollars into a

 company that purported to develop a fully biodegradable plastic alternative product, which the

 Company presented as “a solution to one of the world’s greatest problems”.3 At the beginning of

 the Class Period, when Live Oak and Danimer announced their intended De-SPAC Transaction,

 Defendants represented that Danimer was “a leading producer of polyhydroxyalkanoate (“PHA”)4,

 a new, 100% biodegradable plastic feedstock alternative sold under the proprietary Nodax®




 heirs, successors or assigns and any entity in which Defendants have or had a controlling
 interest.
     2
      A SPAC is a shell, or blank-check, company which raises cash in an initial public offering
 (“IPO”) with the goal of buying an unidentified private company, usually within two years, in a
 deal which would then take the acquired company public.
     3
       October 2020 Danimer letter to shareholders announcing definitive agreement for business
 combination with Live Oak (“October Shareholder Letter”) filed with SEC, https://www
 .sec.gov/Archives/edgar/data/1779020/000121390020030104/ea127812-425_liveoakacq.htm
 (last accessed Dec. 10, 2021).
     4
      Danimer also sells another bio-plastic called PLA. It does not produce PLA. It buys PLA
 and formulates it for customers. PLA is biodegradable in a specific type of environment: one that
 has very specific oxygen levels and has temperatures that exceed 140°F. This only occurs in
 industrial compost environments. Reportedly, outside industrial compost environments it can
 take 100 – 1000 years to biodegrade.



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 brand name, for usage in a wide variety of plastic applications including water bottles, straws,

 food containers, among other things.”5 Defendants further represented that Danimer was

 producing and selling PHA to some of the largest consumer food and beverage companies in the

 world, including Pepsi and Nestlé, with over $200 million in “take or pay” contracts, and that their

 proprietary Nodax® PHA was “a 100% biodegradable .… plastic”6 “that reliably breaks down

 in both industrial composting facilities and backyard compost units”7 and “will biodegrade

 aerobically or anaerobically in soil, water and industrial or home compost within three to six

 months depending on conditions.”8

           4.      In truth, PHA does not biodegrade in three to six months (12-18 weeks). It can take

 years for PHA to fully breakdown anaerobically, and only then with the production of methane, a

 greenhouse gas, and can be much worse for the environment than traditional plastic in certain

 respects. Similarly, PHA biodegrades aerobically at a much slower rate than the Company claims

 and only under specific conditions not accessible to all consumers, and not in the typical marine

 environment. For example, the marine biodegradability test used to gain certification from TUV



     5
       Live Oak Proxy Statement/Prospectus dated December 16, 2020 (defined below as Proxy
 Statement/Prospectus) (which also forms part of the registration statement on Form S-4 filed with
 the       SEC,       by       Live        Oak)        (the       “Registration      Statement”),
 https://www.sec.gov/Archives/edgar/data/0001779020/000121390020043065/f424b31220_liveo
 akacq.htm (last accessed Dec. 10, 2021) at 136. See also *74.
     6
       Press Release, “Danimer Scientific, a Next Generation Bioplastics Company, Announces
 Fourth       Quarter     and     Full    Year      2020      Results”,     Mar.      29,  2021.
 https://ir.danimerscientific.com/news/press-releases/detail/27/danimer-scientific-a-next-
 generation-bioplastics-company (last accessed Dec. 10, 2021).
     7
      Press Release, “Mars Wrigley and Danimer Scientific Help Environmentally Conscious
 Consumers to Compost at Home by Developing Biodegradable Packaging from Natural
 Ingredients”, Mar. 16, 2021. https://danimerscientific.com/2021/03/16/mars-wrigley-and-
 danimer-scientific-help-environmentally-conscious-consumers-to-compost-at-home-by-
 developing-biodegradable-packaging-from-natural-ingredients/ (last accessed Dec. 10, 2021).
     8
         For example, Proxy Statement/Prospectus at 123.



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 is conducted in a lab using seawater at a temperature of 30 degrees Celsius (86 Fahrenheit),

 whereas the average ocean temperature is 4 degrees Celsius (39.2 Fahrenheit), which means items

 could degrade more slowly in real life. At some ocean temperatures, Nodax® PHA straws could

 take between five and ten years to biodegrade, whereas bags and bottles could take even longer.

 The Federal Trade Commission has found, and the Sixth Circuit Court of Appeals has affirmed,

 that such bald representations of biodegradability are misleading. See also In The Matter of ECM

 BioFilms, Inc. als d/b/a Enviroplatics International, https://www.ftc.gov/enforcement/cases-

 proceedings/122-3118/ecm-biofilms-inc-also-dba-envirointernational-matter; ECM Biofilms, Inc.

 v. Fed. Trade Comm’n, 851 F.3d 599 (6th Cir. 2017).

          5.       Moreover, contrary to Defendants’ statements about growing customer demand

 requiring expansions of the Company’s production facilities, Danimer’s actual and planned

 production capacity of PHA was less than half of what it represented. Defendants misleadingly

 represented the actual demand for their Nodax® PHA, including the true nature of some of their

 most prominent customer relationships and omitted the indeterminate nature of their “take of pay”

 contracts, including the dissatisfaction of Pepsi and Nestlé with Danimer’s ability to meet

 requirements leading to Pepsi to divest its interest in Danimer during the Class Period.

          6.       Danimer also omitted to disclose certain material, negative facts concerning

 Defendant Stephen Croskrey’s (“Croskrey”), Danimer’s Chief Executive Officer, professional

 background and failed to disclose that during 2020, Danimer disclosure controls and procedures

 were not effective because of a material weakness in Danimer’s controls over the accounting for

 certain financial instruments.

          7.       The Class Period begins on October 5, 2020, when Live Oak, a SPAC that raised

 $200 million in a May 2020 IPO, and Danimer, then called Meredian Holdings Group, Inc. (doing




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  business as Danimer Scientific, or Legacy Danimer),9 announced that they had entered into a

  definitive agreement for a business combination that would result in Danimer being a publicly

  traded company (the “De-SPAC Transaction”), which was, in effect, Danimer’s IPO. Prior to the

  De-SPAC Transaction, Live Oak’s Class A common shares traded on the New York Stock

  Exchange (“NYSE”) under the ticker symbol “LOAK,” and its warrants traded under the symbol

  “LOAK WS.” Upon the closing of the De-SPAC Transaction, the combined company would be

  renamed Danimer Scientific, Inc. and its common stock would trade under the ticker symbol

  “DNMR” on the NYSE beginning December 30, 2020; warrants would trade under the ticker

  symbol DNMR.WS.

            8.      In order to consummate the De-SPAC Transaction, however, Defendants needed

  Live Oak’s Class A shareholders to approve the transaction in a vote. For Live Oak, the De-SPAC

  transaction meant Live Oak would not have to return the $200 million it raised in the May IPO.

            9.      For Danimer, the SPAC deal offered a quicker route to the public markets and the

  funding the Company needed than a traditional IPO. “The SPAC route gives us the speed that we

  need to get to that capital. We just don’t have time to start a traditional IPO process right now,”

  Defendant Croskrey said in an interview.10 In addition to the funds put into the deal by Live Oak’s

  SPAC, a group of investors including Federated Hermes Kaufmann Small Cap Fund and Apollo

  Management, LP agreed to a $210 million PIPE (private investment in public equity) investment.

  The deal reportedly would provide Danimer with approximately $385 million in cash.

            10.     Thus, on October 5, 2020, the sales pitch for approving the De-SPAC Transaction

  commenced. For example, during conference call with investors, Defendant Croskrey represented


      9
          Meredian Holdings Group, Inc. will hereinafter be referred to as “Danimer”.
      10
       https://www.reuters.com/article/us-live-oak-acqsn-m-a-danimer/u-s-bioplastics-firm-
  danimer-agrees-890-million-deal-to-go-public-idUSKBN26Q17M



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  that when a Danimer PHA-based product was discarded into a landfill, it would be consumed by

  bacteria. Moreover, an October 5, 2020 investor presentation represented that Nodax® is “fully

  degradable in 12-18 weeks after the product is discarded.”11 In a joint press release that day, both

  Danimer and Live Oak stated:12

                    The      Company’s      signature    polymer,      Nodax™       PHA
                    (polyhydroxyalkanoate), is a 100% biodegradable, renewable, and
                    sustainable plastic produced using canola oil as a primary feedstock.
                    Nodax™ PHA is the first PHA polymer to be certified as marine
                    degradable, the highest standard of biodegradability, which
                    verifies the material will fully degrade in ocean water without
                    leaving behind harmful microplastics. As a result, NodaxTM …
                    eliminates the need for recycling and can replace the 80% of plastics
                    that are never recycled or incinerated.

           11.      These representations were later revealed by The Wall Street Journal to be

  materially false and/or misleading and to constitute “greenwashing.” Greenwashing is the process

  of conveying a false impression or providing misleading information about how a company’s

  products are more environmentally sound, as further described below. Greenwashing is under

  increased scrutiny at the SEC and the Federal Trade Commission (“FTC”). Greenwashing is

  damaging to consumers and investors as it imbues purchasing decisions with disinformation. It

  “harms innovation, since it makes it more difficult for legitimate, environmentally friendly

  products to compete with sellers who engage in deception.”13




      11
        https://www.sec.gov/Archives/edgar/data/1779020/000101376220000050/ea127764ex99-
  3_liveoak.htm
      12
       https://www.businesswire.com/news/home/20201005005265/en/Danimer-Scientific-a-
  Next-Generation-Bioplastics-Company-to-Become-a-Public-Company
      13
       Federal Trade Commission, Statement of Commissioner Rohit Chopra, Regarding the FTC
  Energy Guide Rule at p. 5, Commission File No. R611004 (Dec. 22, 2020) (encouraging the
  FTC to “use[] all of its legal authorities to combat practices that harm consumers, distort
  competition, and undermine national goals on energy independence and climate change”).



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           12.       The misleading sales pitches continued through October to December 2020 in the

  lead up to the shareholder vote. On December 16, 2020, Defendants filed a Proxy

  Statement/Prospectus with the SEC that represented “Live Oak’s management and board of

  directors believe that Danimer is a high-growth next generation eco-tech company that produces

  100% biodegradable polymers for use in plastic applications”; “Live Oak’s management and

  board of directors considered Danimer’s strong partnerships with industry leaders, such as

  CPG brands including Pepsi and Nestlé and key converters such as Wincup and Genpak, which

  it believes contribute to Danimer’s rapidly growing blue chip customer base with take-or-pay

  contracts that has led to fully sold-out position through Phase II capacity addition”; and “Live

  Oak’s management and board of directors considered the fact that Danimer has large addressable

  market, with currently over 500 billion pounds worldwide of single-use plastics that are not

  recycled or incinerated.”14

           13.       On December 28, 2020, Live Oak’s board of directors unanimously approved the

  De-SPAC Transaction. Live Oak’s stockholders, likewise, approved the De-SPAC Transaction at

  a special meeting. On December 29, 2020, Legacy Danimer and Live Oak announced that they

  had completed the De-SPAC Transaction, and on December 30, 2020, Danimer shares and

  warrants began trading on the NYSE.

           14.       In a press release that day, Danimer again repeated many of the false and misleading

  representations, including that:

                    The Company’s signature polymer, Nodax™ PHA (polyhydroxyalkanoate), is a
                     100% biodegradable, renewable, and sustainable plastic produced using canola
                     oil as a primary feedstock.


      14

  https://www.sec.gov/Archives/edgar/data/0001779020/000121390020043065/f424b31220_liveo
  akacq.htm



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                    Nodax™ PHA is the first PHA polymer to be certified as marine degradable, the
                     highest standard of biodegradability, which verifies the material will fully degrade
                     in ocean water without leaving behind harmful microplastics.

                    As a result, NodaxTM offers a better beginning-of-life and end-of-life cycle than any
                     of today’s traditional plastics and can replace the 80% of plastics that are never
                     recycled or incinerated.

                     The Company has partnered with key manufacturers and consumer products
                     companies such as PepsiCo, Nestlé, Bacardi, Genpak, WinCup, Columbia
                     Packaging Group, Kemira and Plastic Suppliers Inc. as they introduce more
                     sustainable alternatives to straws, food and beverage containers, and flexible
                     packaging, among others.

                    Our customers view our Nodax™ PHA technology as a core component of their
                     corporate sustainability strategy and a key vehicle to achieve their ESG
                     commitments of reducing plastic waste by making their plastic packaging fully
                     biodegradable.

                    Based on signed and pending contracts, the Company is fully sold out of all
                     production in its Kentucky facility.15

           15.       As a result of the De-SPAC Transaction and the related PIPE offering, Danimer

  received approximately $385 million of unrestricted cash, net of transaction costs, on the balance

  sheet to fully fund future, planned growth, including the expansion of its current Kentucky facility

  and the build out of its contemplated greenfield facility. These funds were primarily comprised of

  cash from Live Oak’s former trust account and concurrent equity private placements from

  institutional investors, including certain funds managed by affiliates of Apollo, Federated Hermes

  Kaufmann Small Cap Fund, and over $50 million from Live Oak affiliates.




      15
         Business Wire, “Danimer Scientific, a Next Generation Bioplastics Company, Completes
  Business Combination with Live Oak Acquisition Corp.” Dec. 29, 2020.
  https://www.businesswire.com/news/home/20201229005412/en/Danimer-Scientific-a-Next-
  Generation-Bioplastics-Company-Completes-Business-Combination-with-Live-Oak-
  Acquisition-Corp. (last accessed Jan. 19, 2021); and https://ir.danimerscientific.com/news/press-
  releases/detail/22/danimer-scientific-a-next-generation-bioplastics-company (last accessed Dec.
  10, 2021).



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           16.      After the De-SPAC Transaction, Legacy Danimer’s senior management team

  continued on and led the Company. In addition to serving as Chief Executive Officer of Danimer

  Scientific, Defendant Croskrey was named Danimer’s Chairman of the Board. Defendant Rick

  Hendrix (“Hendrix”), Chief Executive Officer of Live Oak, joined Danimer’s Board, and

  Defendant John Amboian (“Amboian”), Non-Executive Chairman of Live Oak, joined Danimer’s

  Board as lead director.

           17.      Following a marked rise in Danimer’s stock price, on January 28, 2021, Danimer

  filed a Registration Statement with the SEC on Form S-1 (repeating or expanding on the same

  false claims) for the issuance of up to 32,435,961 shares of common stock and up to 16,279,253

  shares of Class A common stock issuable upon the exercise of warrants and options previously

  issued by Legacy Danimer and Live Oak. On February 16, 2021, the registration statement was

  amended and the SEC declared the registration statement effective. On February 16, 2021,

  Danimer filed a prospectus on Form 424(b)(3) with the SEC (the “February 2021 Prospectus”).

  Collectively, the February 2021 Prospectus and registration statement effective February 16, 2021

  are referred to as the “Feb. 2021 Registration Statement”.

           18.      The Feb. 2021 Registration Statement repeated the claims above and again

  misrepresented Nodax’s® biodegradability, representing “Our PHA … will biodegrade

  aerobically or anaerobically in soil, water and industrial or home compost within three to six

  months depending on conditions.”16

           19.      On March 16, 2021, Danimer issued a joint press release with global snack maker

  Mars Wrigley. The press release touted the certified, reliable biodegradability of Nodax® in soil



      16
       https://www.sec.gov/Archives/edgar/data/1779020/000121390021009683/ea135803-
  424b3_danimersci.htm



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  and marine environments, as well as in industrial and home composting. Specifically, the press

  release asserted that Nodax® “biodegrades in both soil and marine environments.” In the press

  release, Danimer also announced its “plan to introduce Nodax®PHA into flexible and rigid

  packaging that reliably breaks down in both industrial composting facilities and backyard compost

  units, offering an enhanced value proposition for environmentally conscious consumers and

  retailers.” The press release further states that “Nodax®PHA can serve as an alternative to

  traditional petrochemical plastic and has been certified as biodegradable in soil and marine

  environments.”17

           20.      On March 20, 2021, the truth about Danimer began to be revealed to the investing

  public. On that day, The Wall Street Journal published an article entitled “Plastic Straws That

  Quickly Biodegrade in the Ocean? Not Quite, Scientists Say.”18 In this article, the WSJ wrote that

  although “Nodax breaks down far more quickly than fossil-fuel plastics … many claims about

  Nodax are exaggerated and misleading, according to several experts on biodegradable plastics.

  They say more testing and stricter regulations are needed, and warn that marketing products as

  marine biodegradable could encourage littering. Biodegradable straws, bottles and bags can persist

  in the ocean for several years, they say.” According to the article, Jason Locklin—the expert who

  the WSJ states co-authored a study touted by Danimer as validating Nodax®—stated that

  Danimer’s “claims are what I would call sensationalized”. Mr. Locklin’s study—described in

  marketing material by Danimer and its customers as verifying Nodax® as “a truly biodegradable

  alternative to petrochemical plastics”—showed that Nodax® in powdered form breaks down


      17
        https://danimerscientific.com/2021/03/16/mars-wrigley-and-danimer-scientific-help-
  environmentally-conscious-consumers-to-compost-at-home-by-developing-biodegradable-
  packaging-from-natural-ingredients/
      18
        https://www.wsj.com/articles/plastic-straws-that-quickly-biodegrade-in-the-ocean-not-
  quite-scientists-say-11616238001



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  quickly, but that the rate is much more variable when tested as a film, the form used to make bags,

  straws and bottles. Locklin continued that “[m]aking broad claims about Nodax’s biodegradability

  “is not accurate” and “I think is greenwashing.” The article continued stating:

                    But variations in temperature and microorganisms in the ocean
                    make it very difficult to promise a bottle made from Nodax will
                    biodegrade in 18 months, according to Ramani Narayan, a
                    professor at Michigan State University who has been researching
                    biodegradable plastics for over 30 years.

                    The marine biodegradability test used to gain certification from
                    TUV is conducted in a lab using seawater at a temperature of 30
                    degrees Celsius (86 Fahrenheit). But the average ocean temperature
                    is 4 degrees Celsius (39.2 Fahrenheit), which means items could
                    degrade more slowly in real life, Mr. Narayan said. He compares it
                    to bread, which gets moldy less quickly inside the fridge.

                    At some ocean temperatures, Nodax straws could take between
                    five and 10 years to biodegrade, he said. Bags and bottles could
                    take even longer.

                                                     ***

                    TUV said it doesn’t certify products like bottles or straws as ocean
                    biodegradable because it doesn’t want to encourage littering, nor
                    does it allow companies to make such claims about finished
                    products even when the raw materials have been certified.

                    Lab tests are done on sheets of plastic, while finished products come
                    in different shapes and thicknesses or have dyes and labels, all of
                    which could impact how they biodegrade in the real world, said
                    Philippe Dewolfs, head of TUV’s bioplastics certification
                    department.

                                                     ***

                    Given the lack of widespread composting facilities that accept
                    packaging waste, many products made from Nodax today are bound
                    to end up in landfills. However, modern landfills are designed to
                    prevent biodegradation since organic matter releases methane,
                    a potent greenhouse gas, when it breaks down. Even if an item
                    does biodegrade in landfills, experts say it’s hard to predict how long
                    the process would take since landfills differ widely from one
                    another—plus that would be an undesirable outcome.




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                    Nodax doesn’t have any certification indicating it biodegrades
                    in landfills. However, Mr. Croskrey on an investor call in
                    October said the product would be consumed by bacteria if it
                    ended up in a landfill. Responding to questions from The Wall
                    Street Journal, Mr. Van Trump said the claim by the Danimer
                    chief wasn’t wholly accurate, saying Nodax products are
                    unlikely to biodegrade in most modern landfills.

                                                   ***

                    “Everything biodegrades at some point,” including fossil-fuel
                    plastics, he said. “The question is how soon.”

           21.      In defense, the WSJ quoted Danimer’s chief technology officer (“CTO”) as stating:

  “The material truly is biodegradable so we’re not greenwashing,” said its chief technology officer,

  Phil Van Trump, while admitting. “The only thing that will potentially change is how long it

  takes to biodegrade.”

           22.      On this news, Danimer’s stock price fell $6.43 per share, or approximately 13%, to

  close at $43.55 on March 22, 2021, on heavier than usual volume.

           23.      But apparently biodegradability was not the only thing Defendants misrepresented

  or omitted in their SEC filings, press releases, conference calls and presentations used to sell the

  De-SPAC Transaction and issuance of shares. On April 22, 2021, short-focused research firm19

  Spruce Point Capital Management (“Spruce Point”)20 issued a report entitled “When the Tide Goes



      19
         “Short-selling, while high risk, adds so much value to the market. Short-sellers are
  investors whose incentive comes from making profits from the misdeeds of executives and
  companies. They often are the first whistleblowers of crimes like fraud or embezzlement. By not
  being connected to companies and having more risk involved, they watch and research the
  market to ensure things are going the way they believe. This often leads to more informed,
  accurate and ethical reporting of market trends.”
  https://thewhitonline.com/2021/10/features/activist-short-seller-ben-axler-talks-stocks-with-
  rowan-business-students/
      20
         Spruce Point is run by Ben Axler. Mr. Axler is the founder of Spruce Point Capital
  Management and co-founded Prescience Point Research Group (2012-2014), a short-focused
  research firm. Mr. Axler is an activist short-seller, forensic financial researcher, and has exposed
  billions of dollars of financial schemes globally. Prior to founding his company in 2009, Mr.



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  out, What Will Wash Ashore?” on Danimer, writing that Danimer represented “Another Go

  Around at Plastic Alternatives with Several Corporate Governance Red Flags: 65%-100%

  Downside Risk” (the “April 22 Report”). The April 22 Report revealed “several corporate

  governance red flags” involving the past and current CEOs, the CTO and current Danimer

  executives and Directors. These red flags included previously omitted information about “[c]urrent

  Danimer CEO [Defendant] Stephen Croskrey, previously President of Armor Holdings Product

  Division … was directly involved in a potential cover up of defective body armor.” The April 22

  Report continued: “[w]e question the independence of Danimer’s scientific research as Danimer

  has been a financial backer of the University of Georgia Lab and several professors who authored

  the supporting research…. We also believe Danimer has concealed, through numerous website

  changes and omission of past press releases, a pattern of conflicting and irreconcilable statements

  on capacity, facility size, and capex costs … .”

           24.      In addition to these red flags, the April 22 Report found multiple conflicting sources

  of Danimer’s facility sizes and production capacity and inconsistencies between reported figures

  and city filings for Kentucky facility capital costs. The April 22 Report also provided evidence

  that the buildout of Danimer’s Kentucky Facility’s production capacity was only 10% completed

  as of January 15, 2021, contradicting the Company’s statements that it had completed several



  Axler spent eight years as an investment banker with Credit Suisse and Barclays Capital where
  he structured and executed financing, derivative risk management, and M&A deals for leading
  Fortune 500 clients. Mr. Axler’s work has been widely recognized in the financial industry for its
  originality and track record of performance. Mr. Axler is a frequent market commentator and has
  appeared on CNBC, Bloomberg/BNN, and FOX Business television, and in the print edition of
  the Financial Post and Barron’s. Mr. Axler was also profiled in the book “The Happiness
  Advantage: The Seven Principles of Positive Psychology That Fuel Success and Performance at
  Work.” Mr. Axler graduated from Yale University with a Master’s degree in Statistics, and
  received both a Bachelor of Arts degree in Statistics and a Bachelor of Science in Marketing and
  Business Administration from Rutgers College, where he graduated with Summa Cum Laude
  and Phi Beta Kappa honors. https://www.cfany.org/speaker-organizer/mr-axler/



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  components of the first phase of the production capacity buildout by the end of the third quarter of

  2020.

             25.         The April 22 Report also raised doubts about the strength of the Company’s

  purported partnerships with Pepsi and Nestlé because Pepsi just recently sold its highly touted

  equity stake in Danimer and both the top Pepsi and Nestlé executives with close relationships to

  Danimer recently resigned.

             26.         Regarding Danimer’s biodegradability representations, the April 22 Report noted

  that the Company made changes to its presentations following the publication of March 20, 2021

  WSJ article (removing “derived from 100% Renewable Source” and “Fully degradable in 12 – 18

  weeks after the product is discarded.”21

             27.         The April 22 Report also cited a scientific article from 2020 entitled

  “Biodegradation of Wasted Bioplastics in Natural and Industrial Environments: A Review,” which

  indicated that the Company’s representations about the biodegradability of Nodax® were

  misleading.22 Specifically, the article found that “PLA-based bioplastics showed a similar

  biodegradability of PHAs,” and that PHA based bioplastics, such as Nodax®, had “less than 10%

  of biodegradability over a period of one year in aquatic environments, while biodegradation was

  in general below 50% after one year in soil environment.”23 The April 22 Report also points out


  21
    Compare October 2020 Presentation:
  https://www.sec.gov/Archives/edgar/data/1779020/000101376220000050/ea127764ex99-
  3_liveoak.htm with March 2021 (Q4 2020 Earnings Call):
  https://www.sec.gov/Archives/edgar/data/1779020/000121390021018338/ea138515ex99-
  2_danimersci.htm
       22
         Folino, Adele & Karageorgiou, Aimilia & Calabrò, Paolo & Komilis, Dimitriοs. (2020).
  “Biodegradation of Wasted Bioplastics in Natural and Industrial Environments: A Review.”
  https://www.researchgate.net/publication/343275108_Biodegradation_of_Wasted_Bioplastics_in
  _Natural_and_Industrial_Environments_A_Review. (last accessed January 12, 2022.)
       23
            Id. at 28.



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  that a research study shows that in an anaerobic environment, such as a sealed landfill, the PHA

  product does not completely biodegrade, and that bioplastics in a landfill can, in fact, be worse

  than traditional plastic, as they release methane gas, which has a global warming potential that far

  exceeds that of carbon dioxide.

           28.      On this news, Danimer’s stock price declined from a closing price on April 21,

  2021 of $25.00 per share to close at $22.99 per share on April 22, 2021, a decline of $2.01 per

  share, or approximately 8%, on heavier than usual volume.

           29.      On May 4, 2021, Spruce Point issued a follow-up report to the April 22 Report

  writing, “insights from Danimer FOIA show smoking gun evidence of pricing inflation and

  slackness in capacity” (the “May 4 Report”). The May 4 Report continued that “with the benefit

  of a recently released [FOIA] request from the Kentucky Department of Environmental Protection,

  we have evidence that suggests Danimer’s production figures, its pricing, and rosy financial

  projections are wildly overstated. Monthly Kentucky PHA production figures have been restated

  by up to 100% after coming public. Danimer’s PHA average selling price appears to be 30% - 42%

  below management’s claims. Moreover, Danimer’s recently reported production figures are so far

  below their actual capacity, that it calls into question why is Danimer telling investors it needs

  hundreds of millions of dollars in capacity expansion?”

           30.      On this news, Danimer’s shares further plummeted, falling from a close on May 3,

  2021 of $23.63 per share to close on May 4, 2021 at $22.14 per share, a decline of $1.49 per share,

  or approximately 6.3% on heavier than usual volume.

           31.      On May 5, 2021, the Company received a letter from the Atlanta regional office of

  the SEC, in connection with a non-public, fact-finding inquiry, requesting that the Company




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  voluntarily produce certain specified information. Danimer did not disclose the SEC’s letter until

  December 2021.

            32.     On May 14, 2021, Danimer amended and restated its annual 10-K SEC filing and

  stated that Danimer’s internal controls and procedures in 2020 “were not effective because” of

  “material weakness” in Danimer’s “controls over the accounting for complex financial

  instruments.”24

            33.     On May 21, 2021, Spruce Point published a third report (“May 21 Report”) noting

  that the State of Kentucky securities regulator “opened a formal inquiry” after reviewing Spruce

  Point’s findings. The May 21 Report further observed that in Danimer’s recent Q1’21 call,

  Danimer made statements about being unable to raise prices further, and the impact of rising prices

  in canola oil, that conflict with Defendants claims of unfettered demand and sold-out capacity and

  revealed ballooning finished product inventory as a percentage of total inventory and product

  sales25, which are a signal of products are not selling through. The May 21 Report also pointed out

  the language change in Danimer’s statements, within a short period of time from stating that the

  Georgia Bainbridge “2 million square foot..$700 million” facility which will “employ

  approximately 400 people when fully operational…will be operational in mid-to late 2023” to

  much more vague $700 million “manufacturing complex” which will “begin operations in mid-

  to-late 2023.”26




      24

  https://www.sec.gov/Archives/edgar/data/0001779020/000121390021026449/f10k2020a1_dani
  merscien.htm
      25
        Danimer finished goods increased from 48% of product sales in 6/30/2020 to 80% in
  3/31/2021. See Spruce Point May 21 Report at 14.
      26
           Comparing 2020 10-K and Press release to the newer Q1 2021 10-Q.



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            34.     So too, on May 21, 2021, Reuters reported that the Company was under

  investigation by the Division of Securities of the Kentucky Department of Financial Institutions,

  stating, in part, the following:27

                   The Division of Securities of the Kentucky Department of Financial
                   Institutions told Reuters on Friday that it has “launched an inquiry into the
                   investor complaint related to Danimer Scientific.”

            35.     Spruce Point was not the only investigative analyst firm to point out the

  inconsistencies in Danimer’s representations. On September 15, 2021, research firm Muddy

  Waters issued a report that significantly corroborated the April 22, May 4 and May 21 Spruce

  Point Reports. In these reports Muddy Waters found, among other things, that Defendants

  “significantly misrepresented the state of its customer relationships, product development,

  readiness to scale, and TAM [total addressable market] for PHAs.” The report also noted that

  demand for Danimer’s Nodax® product appeared weak, as inventory was growing compared to

  sales, and that Danimer had greatly misled investors about the state of its actual partnerships with

  blue chip company customers, as, for example, Muddy Waters could only confirm end usage for

  straws, and the contracts had many outs. On this news, Danimer’s shares further plummeted,

  falling from a close on September 14, 2021 of $17.24 per share to close on September 15, 2021 at

  $14.73 per share, a decline of $2.51 per share, or approximately 14.5%, on heavier than usual

  volume.

            36.     On November 15, 2021, Defendants held a Q3 2021 earnings call.28 As noted by

  analysts, Danimer missed revenue expectations. Importantly, in the earnings call, Defendants




      27
       https://www.reuters.com/business/sustainable-business/kentucky-securities-regulator-
  opens-inquiry-into-danimer-scientific-2021-05-21/
      28
           https://viavid.webcasts.com/viewer/event.jsp?ei=1507719&tp_key=5d2d59faf5



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  refused to reveal Danimer’s average PHA sales price (“ASP”), giving further corroboration to the

  Spruce Point and Muddy Waters reports that ASPs were a faction of what was represented:

                    Q - Jon Tanwanteng[research analyst]:

                    Okay, great. And then you didn’t give an ASP number this quarter,
                    you usually do. I wonder if you could supply that? And also the
                    volume of PHA products in the quarter or maybe an average
                    utilization rate compared to the nameplate capacity?

                    A – Defendant Croskrey”

                    Sure. So the ASP we have decided that we’re not going to continue
                    to provide that due to competitive reasons, but we’ve only provided
                    that in the first place to correct misinformation in the market. And
                    so we’re not going to continue that in the future, but we were up
                    slightly on a year-over-year basis and slightly -- up slightly on a
                    quarter-over-quarter basis.

           37.      In response, Muddy Waters tweeted: “Seems the market gets that the Q3 results

  and call were awful. What really stands out is the sudden opacity [with respect to] PHA ASP.

  When you’re being scrutinized for obfuscation and exaggeration, you should never answer with

  more obfuscation…Unless the truth is really that bad!”

           38.      To date, Danimer shares have not recovered, closing at a record low of $5.93 per

  share on January 18, 2021.

           39.      Throughout the Class Period, Defendants made materially false and misleading

  statements regarding the Company’s business. Among those misstatements and/or failures to

  disclose were the following: (i) Defendants misrepresented the biodegradability of its Nodax®

  PHA product; (ii) Defendants overstated Danimer’s production of PHA capacity and planned

  capacity by at least 50%; (iii) Defendants misrepresented the demand for their Nodax® PHA,

  including the true nature of some of their most prominent customer relationships and omitted the

  indeterminate nature of their “take of pay” contracts; (iv) Defendants omitted material adverse




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  information about Defendant Croskrey’s background; and (v) Defendants omitted that Danimer

  had deficient internal controls.

                                 II.    JURISDICTION AND VENUE

           40.      The federal law claims asserted herein arise under Sections 10(b), 14(a), and 20(a)

  of the Exchange Act, 15 U.S.C. § 78j(b), 78n(a), and 78t(a), and Rules 10b-5 and 14a-9,

  promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5 and 17 C.F.R. §240.14a-9 and under

  Section 11, 12 and 15 of the Securities Act (15 U.S.C. §§ 77k, 77l and 77o).

           41.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  § 1331 and § 27 of the Exchange Act, 15 U.S.C. § 78aa, and Section 22 of the Securities Act, 15

  U.S.C. § 77v.

           42.      This Court has jurisdiction over each Defendant named herein because each

  Defendant is an individual or corporation who has sufficient minimum contacts with this District

  so as to render the exercise of jurisdiction by the District Court permissible under traditional

  notions of fair play and substantial justice. Plaintiff Burtner is a resident of this District.

           43.      Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15

  U.S.C. § 78aa, Section 22 of the Securities Act, 15 U.S.C. § 77v, and 28 U.S.C. § 1931(b), and

  conducts substantial business in the state of New York.

           44.      In connection with the acts, omissions, conduct and other wrongs in this Complaint,

  Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

  including but not limited to the United States mail, interstate telephone communications and the

  facilities of the national securities exchange.




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                                             III.    PARTIES

  A.       Plaintiffs

           45.      Lead Plaintiff James Swanson, as set forth in his certification previously filed with

  the Court, acquired Danimer securities at artificially inflated prices during the Class Period and

  was damaged upon the revelation of the alleged corrective disclosures.

           46.      Additional Plaintiff Joseph Burtner, as set forth in his certification previously filed

  with the Court, acquired Danimer securities at artificially inflated prices during the Class Period

  and was damaged upon the revelation of the alleged corrective disclosures.

  B.       Defendants

           47.      Defendant Danimer is a corporation organized under Delaware law and

  headquartered at 140 Industrial Boulevard, Bainbridge, Georgia 39817. Danimer shares trade on

  the NYSE under the ticker “DNMR.” Danimer purports to be “a performance polymer company

  specializing in developing and producing bioplastic replacements for traditional petrochemical-

  based plastics” according to Danimer’s Annual Report filed on Form 10-K with the SEC on March

  30, 2021 (“2020 Annual Report”). The Company has said that it “believe[s] that we are the only

  commercial company in the bioplastics market to combine the production of a base polymer along

  with the reactive extrusion capacity in order to give customers a ‘drop-in’ replacement for a wide

  variety of petrochemical-based plastics,” and has described itself as “a leading producer of

  polyhydroxyalkanoate (“PHA”), which occurs naturally in living organisms and is chemically

  similar to polyesters.” Danimer’s key product is its PHA that sells under the brand name Nodax®,

  which the Company has falsely represented is a 100% biodegradable, renewable, and sustainable

  plastic alternative.

           48.      Defendant Croskrey is Danimer’s Chief Executive Officer and the Chairman of the

  Company’s Board of Directors, having served in those capacities since February 2016. Defendant



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  Croskrey signed the February 2021 Offering Registration Statement and made materially false and

  misleading statements to investors in investor conferences, press releases and SEC filings, as

  alleged herein.

           49.      Defendant Richard Hendrix (“Hendrix”) is the co-founder and managing partner of

  Live Oak Merchant Partners, Chief Executive Officer of Live Oak, and a member of Danimer’s

  Board of Directors. He has served as a director of Danimer since December 2020, and previously

  served as Live Oak’s Chief Executive Officer and director from May 2020 to December 2020.

  Defendant Hendrix signed the De-SPAC Registration Statement, and the February 2021 Offering

  Registration Statement and made materially false and misleading statements to investors in

  investor conferences, press releases and SEC filings, as alleged herein.

           50.      Defendant John A. Dowdy, III (“Dowdy”) is Danimer’s Chief Financial Officer,

  having served in that capacity since May 2014. Defendant Dowdy signed the February 2021

  Offering Registration Statement.

           51.      Defendant John P. Amboian (“Amboian”) was Chairman of Live Oak, and is a

  director of Danimer. Defendant Amboian signed the De-SPAC Registration Statement and the

  February 2021 Offering Registration Statement.

           52.      Defendant Cristy Basco (“Basco”) is a director of Danimer and signed the February

  2021 Offering Registration Statement.

           53.      Defendant Philip Gregory Calhoun (“Calhoun”) is a director of Danimer and signed

  the February 2021 Offering Registration Statement.

           54.      Defendant Gregory Hunt (“Hunt”) is a director of Danimer and signed the February

  2021 Offering Registration Statement.




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           55.      Defendant Isao Noda (“Noda”) is a director of Danimer and signed the February

  2021 Offering Registration Statement.

           56.      Defendant Stuart Pratt (“Pratt”) is a director of Danimer and signed the February

  2021 Offering Registration Statement.

           57.      Defendant Andrea K. Tarbox (“Tarbox”) was Chief Financial Officer and a director

  of Live Oak and signed the De-SPAC Registration Statement.

           58.      Defendant Tor R. Braham (“Braham”) was a director of Live Oak and signed the

  De-SPAC Registration Statement.

           59.      Defendant Jonathan Furer (“Furer”) was a director of Live Oak and signed the De-

  SPAC Registration Statement.

           60.      Defendants Harold Ford Jr. (“Ford”) was a director of Live Oak and signed the De-

  SPAC Registration Statement.

           61.      John W. Sweet (“Sweet”) was a director of Live Oak and signed the De-SPAC

  Registration Statement.

           62.      Collectively, Defendants named in Paragraphs 48-61 are referred to as the

  “Individual Defendants.”

           63.      The Individual Defendants, because of their positions at the Company or Live Oak,

  possessed the power and authority to control the content and form of the Company’s or Live Oak’s

  annual reports, quarterly reports, press releases, investor presentations, or other materials provided

  to the SEC, securities analysts, money and portfolio managers and investors, i.e., the market. The

  Individual Defendants authorized the publication of the documents, presentations, and materials

  alleged herein to be misleading prior to issuance and had the ability and opportunity to prevent the

  issuance of these false statements or to cause them to be corrected. Because of their positions with




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  the Company or Live Oak and access to material non-public information available to them but not

  to the public, the Individual Defendants possessed the power and authority to control the contents

  of Danimer’s or Live Oak’s representations to the investing public.

                   IV.    BACKGROUND AND SUBSTANTIVE ALLEGATIONS

  A.        Origins of Danimer

            64.     Danimer was originally formed in 2004 and sought to provide sustainable polymer

  solutions by developing compostable and biodegradable plastic alternatives.

            65.     Around 2007, Meredian Inc. (“Meredian”), a company that would later merge with

  Danimer, bought the patents underlying PHA technology from Procter & Gamble Company

  (“P&G”) after P&G had spent over a decade trying to develop a PHA business.29 Since then,

  Danimer has been trying to commercialize PHA. In 2014, Meredian Inc. and Danimer merged

  under the name Meredian Holdings Group Inc.

            66.     In December 2016, Meredian Holdings Group Inc. announced that it would do

  business as Danimer Scientific, Inc.

            67.     In August 2018, Defendants began publishing press releases with promotional

  claims about the University of Georgia’s purported recognition of PHAs as an eco-friendly

  alternative to traditional plastics.30




       29
       “Meredian Inc. Announces Acquisition of PHA Technology from Procter & Gamble,” Oct.
  4,    2007.    https://news.pg.com/news-releases/news-details/2007/Meredian-Inc.-Announces-
  Acquisition-of-PHA-Technology-from-Procter--Gamble/default.aspx (last accessed Dec. 10,
  2021).
       30
       “Study: Danimer PHA Verified as Reliable Biodegradable Alternative to Traditional Plastic
  Packaging,” Aug, 7, 2018. https://ir.danimerscientific.com/news/press-releases/detail/15/study-
  danimer-pha-verified-as-reliable-biodegradable (last accessed Dec. 10, 2021).



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            68.     The recent explosion in investor interest in SPACs presented Defendants with a

  new opportunity to market the technology in such a way to raise hundreds of millions of dollars.

  In 2020, just as the SPAC trend was taking off, Danimer’s press releases increased in frequency.31

  B.        Origins of Live Oak

            69.     Live Oak was incorporated in May 2019 as a SPAC formed for the purpose of

  effecting a merger, capital stock exchange, asset acquisition, stock purchase, recapitalization,

  reorganization or similar business combination with one or more businesses.

            70.     Live Oak was organized by Gary K. Wunderluch, Jr. who was been sanctioned by

  the SEC. In 2011, Mr. Wunderlich, along with Wunderlich Securities, Inc. (“WSI”) and WSI’s

  Chief Compliance Officer, consented, without admitting or denying the findings therein, to the

  entry of an SEC order finding that, from 2007 to 2009, as WSI was converting hundreds of its

  existing fee-based brokerage accounts to investment advisory accounts, in response to regulatory

  changes affecting certain broker-dealers that provided investment advice, WSI willfully violated

  the Investment Advisers Act of 1940, or the Advisers Act, and its rules by failing to have adequate

  written policies and procedures and a code of ethics, and Mr. Wunderlich, who was then WSI’s

  Chief Executive Officer, willfully aided and abetted and caused such violations. The order also

  found that WSI willfully violated the Advisers Act and its rules by overcharging advisory clients

  for commissions and other transactional fees totaling approximately $120,835 in approximately

  6,338 separate transactions, which the SEC stated appeared to have occurred primarily due to back-

  office errors, and by engaging in principal trading without providing certain required disclosures

  to its clients.



       31
        Danimer Scientific, Inc. Press Releases, p. 5. https://ir.danimerscientific.com/news/press-
  releases?page=5 (last accessed Dec. 10, 2021).



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           71.      Live Oak completed its initial public offering in May 2020 at $10 per share, raising

  $200 million.

           72.      In October 2020, Live Oak and Legacy Danimer agreed to merge through the De-

  SPAC Transaction

           73.      On October 5, 2020, Legacy Danimer and Live Oak announced a definitive

  agreement for a business combination by which Live Oak would acquire Legacy Danimer and

  would result in Legacy Danimer becoming a public company through the De-SPAC Transaction.

  Upon the closing of the De-SPAC Transaction, the combined company would be renamed

  Danimer Scientific, Inc. and its common stock would trade under the ticker symbol “DNMR” on

  the NYSE beginning December 30, 2020.

           74.      On December 28, 2020, Live Oak’s board of directors unanimously approved the

  De-SPAC Transaction. Live Oak’s stockholders, likewise, approved the De-SPAC Transaction at

  a special meeting.

           75.      On December 29, 2020, Legacy Danimer and Live Oak announced that they had

  completed the De-SPAC Transaction. Legacy Danimer’s senior management team would continue

  to lead the new combined company. In addition to continuing as CEO, Defendant Croskrey was

  named Chairman of Danimer’s board.

  C.       In the Backdrop of a Worldwide Plastic Pollution Problem, Defendants Presented
           their Purportedly New Plastic Alternative Product as the Ultimate Solution

           76.       In recent years, investors, consumers, companies, environmentalists, and many

  others have grown increasingly concerned with the environmental impact of the global plastic

  pollution crisis, including the use of single-use plastics that find their way into oceans, landfills,

  and the general environment, and the inability of plastic to biodegrade, leading to the proliferation

  of tiny microplastic particles found in virtually every corner of the world. So too, governments are




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  increasing cracking down on polluters and passing laws and regulations to prevent pollutions. As

  such, investors are eager to invest in companies that will step in and meet this growing demand for

  a solution and compliance with government programs. Danimer claimed to be one of the

  companies offering a solution to this crisis, and investor demand.

           77.      Between October 2020 through the end of the Class Period, Defendants publicized

  investor presentations that played on these fears and environmental concerns, often featuring a

  tortoise swimming while trapped in a plastic set of six-pack rings. Yet, as discussed below, that

  ring might not biodegrade for years, even if made by the product Danimer was peddling.:




           78.      In sum, Defendants took advantage of the burgeoning environmental crisis by

  peddling a purportedly new technology that was supposedly a 100% biodegradable plastic

  substitute which is fully degradable in 12 – 18 weeks even in marine environments and

  landfills, the production and adoption of which would scale so massively that it could replace

  everyday plastic products.




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           79.      In a video presentation published by AMCREF Community Capital on June 30,

  2020, Michael Smith, Danimer’s Chief Operating Officer, stated that the new solution to this crisis

  was an:

                    “absolutely 100% biodegradable plastic that will work to
                    replace your water bottles, your chip bags, your cutlery, things
                    that you see on the side of the road. We can make those go
                    away.”32




      32
       “Danimer Scientific + AMCREF,” June 30, 2020. https://www.youtube.com/watch?v=
  7m12iAfSEcM (last accessed Dec. 3, 2021).



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  Defendants perpetuated this myth in their October 2020 Investor Presentation with a slide showing

  the well-known customers and a large array of products claiming the “[a]bility to convert PHA

  into articles for a wide range of plastics and specialty applications”:




           80.      To demonstrate these supposed capabilities, Defendants repeatedly publicized and

  showed investors images of a plastic bottle seemingly dissolving into thin air:




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           81.      To demonstrate the Company’s ability to scale massively in both production and

  adoption, Defendants touted the size and production capacity of its new facilities and new

  partnerships with large companies such as Nestlé and PepsiCo.:




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           82.      Following the De-SPAC Transaction, in which Defendants raised over $380

  million dollars for Danimer, it was soon revealed that Defendants’ representations concerning the

  100% biodegradability of Nodax®, the revolutionary and environmentally friendly nature of the

  product, the product’s scalability, Danimer’s production capabilities, the level of product adoption

  by customers, and the contracts with those customers were materially false and misleading.

  D.       Greenwashing Conveys a False Impression or Provides Misleading Information
           about a Product’s Impact on the Environment.

           83.      Greenwashing is considered an unsubstantiated claim to deceive consumers and

           investors into believing that a company’s products are environmentally friendly. See e.g.

           https://www.ecowatch.com/greenwashing-guide-2655331542.html




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           84.      Many companies are working hard to change the reputation around their plastic

  products and boost consumer enthusiasm for them. Bioplastics give a potent example. Made from

  bio-based polymers instead of petrochemicals, this material is often considered good for the planet

  because it can break down thousands of years faster than traditional plastics. But what isn’t as

  commonly known is that these “natural” plastics need highly specific conditions to decompose

  that involve access to oxygen and sunlight — both of which are scarce in landfills.

           85.      Furthermore, many of these bioplastics require the use of other plastics in the

  manufacturing process or even embedded within them to hold different components together. The

  benefits of using these materials are middling at best, which has led the FTC to challenge

  manufacturers on their misleading claims about their environmental impacts.

           86.      The FTC states in its Green Guides at 16 C.F.R. 260.8 puts the following limitations

  on the use of degradation claims as follows:

           (b) A marketer making an unqualified degradable claim should have competent and
           reliable scientific evidence that the entire item will completely break down and
           return to nature (i.e., decompose into elements found in nature) within a reasonably
           short period of time after customary disposal.

           (c) It is deceptive to make an unqualified degradable claim for items entering
           the solid waste stream if the items do not completely decompose within one
           year after customary disposal. Unqualified degradable claims for items that are
           customarily disposed in landfills, incinerators, and recycling facilities are deceptive
           because these locations do not present conditions in which complete decomposition
           will occur within one year.

           (d) Degradable claims should be qualified clearly and prominently to the
           extent necessary to avoid deception about: (1) the product’s or package’s
           ability to degrade in the environment where it is customarily disposed; and (2)
           the rate and extent of degradation.33



  33
     See also In The Matter of ECM BioFilms, Inc. als d/b/a Enviroplatics International
  https://www.ftc.gov/enforcement/cases-proceedings/122-3118/ecm-biofilms-inc-also-dba-enviro
  plastics-international-matter; ECM Biofilms, Inc. v. Federal Trade Commission, 851 F.3d 599 (6th
  Cir. 2017); Shahrasbi, Sanya, “Consumers, Plastic, and What It Means to Be ‘Biodegradable’”



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  E.       Defendants Misrepresented the Biodegradability of PHA and Engaged in
           Greenwashing

           87.      Defendants materially misrepresented the biodegradability of it Nodax® PHA

  during the Class Period. According to Danimer, the Company “is a leading producer of PHA, a

  100% biodegradable plastic feedstock alternative sold under the proprietary Nodax® brand

  name, for usage in a wide variety of plastic applications including water bottles, straws, food,

  containers, etc.”. During the Class Period, Danimer represented that its signature PHA product,

  Nodax®, is 100% biodegradable within 12 – 18 weeks in all environments, and can sustainably

  replace 80% of plastics that are never recycled or incinerated. Danimer represented that Nodax®

  could reliably breakdown and quickly disappear in months, if not weeks, in all environments.

           88.      In reality, Defendants now acknowledge that these representations concerning the

  biodegradation of Nodax® were wrong because the products that are made with its Nodax®

  product are not 100% biodegradable in common marine and soil environments like sealed landfills,

  and even where they are, it can take years, if ever, before they “disappear.”

           89.      On March 20, 2021, The Wall Street Journal published an article entitled “Plastic

  Straws That Quickly Biodegrade in the Ocean? Not Quite, Scientists Say--Companies are touting

  straws and bottles made from a plant-based plastic, but researchers say some claims are overstated”

  written by Saabira Chaudhuri, challenging Danimer’s scientific claims and detailing the true

  biodegradability of Danimer’s technology.

           90.      The article noted that Danimer is trying to paint a picture that you can leave your

  plastic cup and straw on the shore, assured that if washed away they’ll quickly disappear, claiming




  https://www.law.georgetown.edu/environmental-law-review/wp-content/uploads/sites/
  18/2019/05/GT-GELR190019.pdf



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  their products can biodegrade in oceans within a few months. But experts say those claims are

  exaggerated and misleading, and more testing and stricter regulations are needed, warning that

  marketing products as marine biodegradable could encourage consumers who are increasingly

  concerned about the environment to not give a second thought to littering. “Biodegradable straws,

  bottles and bags can persist in the ocean for several years.” Moreover, modern landfills are

  designed to prevent biodegradation since organic matter releases methane, a potent greenhouse

  gas, when it breaks down. Even if an item does biodegrade in a landfill, it is difficult to predict

  how long the process will take since landfills differ widely from one another. In addition, Nodax®

  PHA will only decompose in 18 months where there is microbial activity, such as a composting

  bin, a landfill with energy recovery, or a body of water. Further, only about 5 million U.S.

  households had access to curbside composting, and few Americans have access to landfills

  equipped to ensure that bioplastics degrade.

           91.      But when confronted, Danimer CTO Phil Van Trump admitted to the author that

  Defendant Croskrey’s representation on October 5, 2020 that Nodax® would be consumed by

  bacteria if it ended up in a landfill were not “wholly accurate,” saying that “Nodax products

  are unlikely to biodegrade in most modern landfills.”

           92.      Shortly afterward, on March 26, 2021, Plastics Today followed up with an article

  entitled, “Skepticism Mounts over Utility of Biodegradable Plastics”, written by Clare Goldsberry,

  following up on the WSJ article, noting that at an SPE Thermoforming Conference at Michigan

  State University, professor Ramani Narayan, who has a 30-year history of researching

  biodegradable plastics, commented that promises of “disappearing” materials made through an




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  industrial process are not guaranteed.34 Due to variability in the environment, it is very difficult to

  promise an 18-month biodegradability time frame, Narayan said. “All of this biodegradable stuff

  sounds good. The public loves it! But, I ask, in what environment will this degrade? Define

  environment. The word ’biodegradable’ means nothing…“Time? Eventually it will biodegrade,

  but when? Is some biodegradability better than nothing? No!” Narayan added. “There are serious

  health and environmental issues connected with biodegradability. It’s all or nothing — it must be

  defined in terms of the environment and time.” Chaudhuri also shared viewpoints from Narayan

  in her WSJ article. His perspective on biodegradability hasn’t changed much over the past 11 years.

  Goldsberry finished the article stating; “With skepticism growing over biodegradable and

  compostable polymers as sustainable solutions to the plastic waste challenge, will these materials

  — in particular PHA — ever become more than just niche products? That’s a question the industry

  – and its investors – need to answer.”

           93.      Tellingly, after publication of The Wall Street Journal article that questioned

  Danimer’s representations that Nodax® was 100% biodegradable, Danimer made two material

  changes to Danimer’s investor presentation related to the biodegradability of Nodax®.

  Specifically, Danimer’s October 2020 presentation35 contained the unqualified representation

  “fully degradable in 12-18 weeks after the product is discarded.” But in Defendants’ Q4 2020




      34
       https://www.plasticstoday.com/biopolymers/skepticism-mounts-over-utility-
  biodegradable-plastics
      35
       October 2020 Danimer Investor Presentation https://www.sec.gov/Archives/edgar/data/
  1779020/000101376220000050/ea127764ex99-3_liveoak.htm



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  earnings call presentation on March 29, 2021, which was otherwise substantially similar to the

  October 2020 presentation, Defendants removed this representation. 36

           94.      Similarly, in Danimer’s May, 17, 2021 Earnings Call37, Defendant Croskrey

  admitted the misleading nature of Danimer’s prior representations, again admitting to some of the

  limits of Defendants’ 100% biodegradability of Nodax® claims, while dropping the three-to-six-

  month representation:

                    While the timeframe for complete degradation varies depending on
                    real-world settings, including the dimensions form and application
                    of the material, all of the extensive testing conducted to date,
                    demonstrates that Nodax biodegrades into natural compounds,
                    carbon dioxide, water and biomass. Petrochemical plastics, on the
                    other hand do not biodegrade in any environment.

           95.      Former employees further corroborate problems with the biodegradability of

  Nodax.

           96.      CW1 was an engineer at Danimer during the period July 2020-July 2021 at the

  Company’s facility in Bainbridge, Georgia. CW1 was responsible for, inter alia, conducting

  experiments for commercial process scaling, and assisting in fermentation and downstream

  processing operations. CW1 corroborates that Defendants’ representations concerning the

  biodegradability of Nodax® were misleading. According to CW1, even if raw Nodax® (i.e. white

  powder) is 100% biodegradable, once you add other elements to the white powder, it changes

  properties and time to degrade. According to CW1, other Danimer employees and engineers




      36
            March        29,       2021      Fourth    Quarter   Earnings     Presentation
  https://www.sec.gov/Archives/edgar/data/1779020/000121390021018338/ea138515ex99-
  2_danimersci.htm (last visited on January 19, 2022.)
      37
       https://www.sec.gov/Archives/edgar/data/0001779020/000095017021000274/dnmr-
  20210517-ex99_1.htm



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  frequently expressed skepticism concerning Danimer’s representations that Nodax ®was 100%

  biodegradable.

           97.      Also according to CW1, there is a display within the lobby of the Company’s

  Bainbridge office which shows a plastic fork reportedly sitting in dirt with a message and timeline

  reportedly touting Nodax’s® biodegradable abilities over time. According to CW1, during CW1’s

  tenure, CW1 and other Danimer employees observed that the fork has not changed appearance.

           98.      CW2 was a manufacturing manager who worked for Danimer from September

  2019 through approximately December 2020. CW2 worked in the manufacturing department in

  Danimer’s Bainbridge, GA facility and was responsible for overseeing the manufacturing and

  extrusion of polylactic acid (“PLA”), another polymer-based plastic, and PHA. Like CW1, CW2

  observed that after the Nodax® white power is extruded and other chemicals are added, the

  Nodax® pellets produced are not 100% biodegradable. Specifically, CW2 stated that the reason

  why Nodax® was not 100% biodegradable was because other elements were added to the white

  powder to create the final product. CW2 explained that the extrusion process involved melting raw

  compounds and mixing in additives to create the end product. Once other elements were added, it

  changed the chemical properties of the white power making it impossible for Nodax® fully

  degrade. CW2 personally observed Nodax/PHA pellets on Danimer’s warehouse floor that stayed

  there for months and never degraded.

           99.      Moreover, to the extent Danimer supports its environmentally friendly claims, they

  rely heavily on conclusions from research they funded (but have made efforts to hide) conducted

  at the University of Georgia led by Dr. Jason Locklin. For instance, in a press release dated January

  15, 2019 (“Jan. 19 press release”), Defendants stated that “[i]n 2018, the University of Georgia

  (U.S.A.) confirmed in a study that Nodax™ is an effective biodegradable alternative to




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  petrochemical plastics.”38 But both the University of Georgia and Dr. Locklin have significant

  conflicting financial ties to Danimer. Moreover, Defendants have tried to obscure those financial

  ties by removing press releases from its website. Danimer’s website, for instance, appears to omit

  press releases between 2012 – 2017, including a removed announcement of funding to University

  of Georgia Labs.39 For instance, in a removed August 2015 press release, Defendants stated that

  the Company provided funding to the University of Georgia on multiple occasions including as

  follows:

                            “a series of funding to the distinguished labs of Dr. Jason
                             Locklin, Dr. Mark Eiteman and Dr. Jenna Jambeck at the
                             University of Georgia;”

                            a “second round of funding” given to Dr. Locklin “from his
                             5 year, $250,000 grant he’s receiving from the company”;

                            a “$41,500 contribution” to Dr. Eiteman’s Group “to train
                             students to metabolically engineer organisms;” and

                            a “$50,000 contribution [] made to Dr. Jambeck’s Research
                             Group.”

  The August 2015 press release stated that “Dr. Jambeck will allocate her funds towards a

  comparative study of Nodax™ PHA and several petro-plastics in controlled marine and freshwater

  environments. While [Danimer]’s PHA is certified by Vinçotte for biodegradability in all

  environments, continued testing and research will provide a stronger foundation for replacing

  petro-plastic in order to provide a sustainable future.” Defendants also stated that Danimer “opened


      38
         Press Release, “Nestlé and Danimer Scientific to Develop Biodegradable Water Bottle,”
  https://danimerscientific.com/2019/01/15/nestle-and-danimer-scientific-to-develop-
  biodegradable-water-bottle/ (last accessed Dec. 7, 2021).
      39
         Compare Danimer’s current list of press releases (Danimer Scientific, Inc. Press Releases,
  p. 6, at https://ir.danimerscientific.com/news/press-releases?page=6 (last accessed Dec. 7, 2021))
  with a web archived version at https://web.archive.org/web/20150905204205/http:/www.mhgbio
  .com/mhg-ceo-pereira-announces-series-of-funding-to-university-of-georgia-labs/ (last accessed
  Dec. 7, 2021).



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  their own specialty labs at the University of Georgia in order to increase R&D opportunities. The

  funding contributions will allow [Danimer] to further optimize biopolymer applications and

  formulas through targeted R&D projects.” The University of Georgia corroborated the funding in

  a February 26, 2018 article that announced that Danimer “provided financial support to several

  UGA faculty members who are working with the company to test and improve their products.

  Recipients include Jason Locklin, Jenna Jambeck and Mark Eiteman.”40 In a Facebook post made

  by Danimer on February 4, 2016, Defendants also posted a picture of CTO Phil Van Trump and

  Dr. Joe Grubbs (of Danimer) accepting an award from the University of Georgia for “broadening

  R&D support”.

           100.     While the University of Georgia researchers, supported by Danimer, published

  articles supportive of Danimer’s general PHA environmentally friendly representations,

  independent research shows that PHAs have limited benefits. These benefits are mostly under non-

  traditional disposal methods including compost and traditional soil. For instance, an academic

  paper, “Biodegradation of Wasted Bioplastics in Natural and Industrial Environments: A Review,”

  showed how polyhydroxyalkanoates (“PHAs”) – Danimer’s key product sold under the brand

  name Nodax® and derived from plant-based feedstock – actually have limited benefits.41 The

  paper noted that PHAs have limited benefits, generally tied to non-traditional disposal methods

  including compost and traditional soil. In aquatic environments, the researchers observed less than




      40
         “Plastic Products Are Ubiquitous In The Modern World.” https://impact.uga.edu/
  success_story/plants-to-plastics/ (last accessed Dec. 7, 2021).
      41
        “Biodegradation of Wasted Bioplastics in Natural and Industrial Environments: A Review,”
  Jul. 27, 2020. https://www.mdpi.com/2071-1050/12/15/6030 (last accessed Dec. 7, 2021).



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  10% of biodegradability over a period of one year while biodegradation was in general below 50%

  after one year in a soil environment.42

  F.         Defendants Overstated Production Capacity and Planned Growth of Production
             Capacity of Its Nodax® PHA

             101.   Throughout the Class Period, Defendants pitched investors on a Phase I nameplate

  production capacity of 20 million pounds of Nodax® PHA and the Phase II addition of 45 million

  pounds. For example, in the October 2020 Investor Presentation, Defendants presented touting

  their 2020E estimated 10 kilotons (or 22 million pounds) “PHA Capacity” compared to their next

  closest competitor with half that “PHA Capacity” :




       42
            Id.



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           102.     But both Spruce Point and Muddy Waters called Danimer out on these

  representations, estimating based on their investigation and analysis that actual production was as

  low as 18% of Danimer’s represented capacity.

           103.     Confidential Witnesses corroborated these estimates putting production at less than

  500,000 pounds per month by July 2021, without considering waste which could be a third of that

  amount.

           104.      For example, CW5 served as a Quality Assurance /Quality Control Microbiology

  Technician at Danimer from February 2021 to July 2021. CW5 worked in the Quality Department

  analyzing Danimer’s Nodax® product for any contaminants or impurities, and reported to the Lab

  Manager, Thomas Anderson, who in turn reported to the Plant Manager, Kevin Welsh. CW5 said

  that the production goal they were given by management led by Kevin Welsh, the plant manager,

  was to produce 500,000 pounds of PHA per month. He remembers only reaching this goal one

  time during his time at Danimer and falling short all the other months he was there. Production

  goals were discussed at daily meetings, usually led by the Operations/Production Manager, Genia

  Taylor-Harris. Usually, the Lab Manager and one or two other lab employees were present at the

  meetings. The production goals were very optimistic and left little room for error. Managers were

  always trying to shave time off the production process when realistically it required more time

  than anticipated due to manufacturing problems that would arise such as contamination. CW5 did

  not think that this compromised the quality of the PHA, but it hurt production goals. If something

  didn’t go as planned, it slowed down the production time.

           105.     Similarly, CW4 was a former employee of Danimer from April 2017 through July

  2021. In 2021 CW4 worked in the Kentucky facility making the PHA. CW4 stated that at most the

  three fermenters that made up Phase I of the Kentucky expansion could produce an estimated




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  80,000 pounds of PHA in one run, and that the Company would have to run 5 runs each fermenter

  in the month (400,000 pounds). Even then, about a third of the runs were unusable or would not

  occur due to scheduling push-backs within operations.

           106.     CW4 also stated the Danimer gave up on retrofitting the additional fermenters at

  the Kentucky plant because Danimer could not make the science work for the retrofit. The

  expansion was aspirational. CW4 stated the intention was there to use the additional fermenters

  when the plant was bought and retro-fitted, but was not brought online because the retrofit would

  have been too expensive to make the science work.

           107.     According to CW2, who has over 30 years of experience working in extrusion

  manufacturing since CW2 was 18 years old, Danimer’s PHA production was slow and had

  continuous problems with the science behind it. Specifically, Danimer could not get the heating

  process right and the product would burn. The properties and color of Nodax® were never

  consistent after the manufacturing process and a large amount of product had to be discarded. CW2

  stated that the product was off-quality, was missing components, and needed to be re-ran through

  the extrusion process. In sum, CW2 characterized Danimer’s operations as a fly by night operation.

           108.     After the Class Period and after having been called on discrepancies, Danimer

  admitted that nameplate production capacity was half the amounts represented, stating that the

  numbers represented a 50/50 mix of PHA and PLA as the “finished product”, not “neat PHA.” But

  investors were not interested in non-biodegradable PLA (it does not readily biodegrade in

  temperatures below 60 degrees Celsius or 140 degrees Fahrenheit) as a product, and that was not

  the product that Danimer represented its customers wanted.




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  G.       Defendants Misrepresented the Demand for their Nodax® PHA, Including the True
           Nature of Some of their Most Prominent Customer Relationships and Omitted the
           Indeterminate Nature of their “Take Of Pay” Contracts

           109.     Throughout the Class Period Defendants pitched to investors that it had “blue chip”

  customers/partners, including PepsiCo and Nestlé, with whom it was “sitting on over $200 million

  of take or pay off agreements” that sold out its current production, as well as the capacity of Phase

  II or its Kentucky expansion, and that based on its current pipeline, the new Georgia plant was on

  pace to be sold out without any additional customers. In reality these agreements were

  indeterminate, with escape clauses, for R&D purposes and did not represent true or lasting strong

  demand as revealed by subsequent revelations.

           110.     For example, former employees question the demand representations of the

  Company. One former employee thought that Danimer was not “sold out” and provided facts to

  support that conclusion. CW3 was a Warehouse Technician at Danimer from August 2020 to June

  2021 and worked in the shipping and receiving department in Danimer’s Kentucky facility. CW3

  was responsible for packaging and shipping out Nodax® product. CW3 reported to Kevin Welsh,

  the Plant Manager, and to Tyler Hermenitt, the Maintenance Coordinator.

           111.     CW3 stated CW3 did not believe Danimer was sold out of Nodax® product and

  that when CW3 left in June 2021, Danimer was still “going heavy on production” but a large

  amount of product was stored in an off-site warehouse in Winchester, Kentucky, which was in

  poor condition and was contaminated with mice and critters. CW3 stated that these off-site

  warehouses were so were full it had to be stored in the manufacturing facility when the off-site

  facilities were full. Sometimes the employees had to maneuver around sacks of Nodax® because

  the manufacturing facility was over-filled with finished product.

           112.     According to another former Danimer employee interviewed by Spruce Point,

  Danimer’s supposed partnerships were “all about name dropping. We were already working with



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  Pepsi back then. We had big clients but they were small orders…. I am amazed the Company is

  worth so much money now and it’s still doing the same thing.” Spruce Point also noted that Pepsi

  and Nestlé’s leadership (who had key relationships with Danimer) have departed from their

  respective companies.

           113.     So too, the Muddy Waters Report found evidence that the “purported take or pay

  contracts reportedly (and logically) do not obligate the customers to purchase material if it does

  not meet customer requirements or is not produced.” Rpt. at 7. Thus, take or pay, is maybe take or

  maybe pay. Carson Block, Muddy Water’s founder, confirmed this in a January interview, which

  was conducted after Muddy Waters and Danimer had engaged in discussion. See

  https://www.zer0es.tv/ beginning after the 11-minute mark,

           114.     CW1 echoed the finding that being “sold out” was an overstatement, stating that

  PHA was way too expensive (10 to 20 times costs of traditional plastics) for real commercial usage

  at scale, and customers PepsiCo and Nestlé only purchased PHA for testing purposes, not for

  mass commercial products. CW1 stated that customers PepsiCo and Nestlé only purchased PHA

  for testing purposes, not for mass commercial products. Around the time CW1 left, Nestlé was

  planning a commercial product, but PHA water bottles made the water taste horrible, so they could

  not release a commercial product until Danimer improved the quality of the plastic it was giving

  them. Another large project was getting the quality of the plastic to acceptable levels, which we

  could only do with small amounts of product, i.e. at the smaller Bainbridge facility not meant for

  commercial production. CW1 stated that if Nestlé or Pepsi had a biodegradable bottle, you would

  know about it from them. Nestlé really wanted to improve their public image through using

  biodegradable bottles. Rather, CW1 stated that Straws were the only commercial PHA product of

  which CW1 was aware.




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           115.     The highly touted relationship with PepsiCo was also misleading. While in the run-

  up to the De-SPAC Transaction, Defendants boasted about a purported PepsiCo equity stake in

  the Company, Defendants’ March 2021 Investor Presentation inexplicably omitted any mention of

  PepsiCo’s ownership, and Bloomberg records do not list PepsiCo as a major shareholder,

  suggesting that PepsiCo sold or otherwise no longer holds a significant position in Danimer stock.

           116.     Corroborating this, CW4 stated that at the time of the Spruce Point report noting

  that PepsiCo sold its stake in Danimer, a Danimer executive told CW4 that PepsiCo was rumored

  to have sold its shares because Danimer was not meeting production it had promised to Pepsi.

  CW2 appears to corroborate this stating while Danimer had orders from Pepsi and Win Plastics,

  Danimer could not manufacture it consistently enough to fulfill the orders.

           117.     Moreover, as to PepsiCo, the Muddy Waters Report states that Danimer has

  misleadingly marketed a PepsiCo PLA-based resin bag as actually being made from Danimer

  PHA. For example, Danimer’s “investor presentation misleadingly features a DNMR PepsiCo bag

  that won a bioplastics award in three slides. DNMR previously developed this bag with PepsiCo,

  but it uses PLA. The bag reportedly took almost 10 years to develop. One of the misleading slides

  that strongly implies that this PLA bag is a ‘PHA Customer Collaboration Case’ is below[.]” Rpt.

  at 10. Thus PepsiCo’s commitment appears to be more PLA related more than that it has found




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  any        acceptable   use   for   PHA.   For   example,   from   the   investor   presentations43:




              118.   As to Mars Wrigley, the Muddy Water Report found that “in all likelihood, the

  earliest Mars Wrigley will purchase commercial quantities of wrapper using DNMR PHA is 2025-

  if ever.” Muddy Waters states that it has a “well-placed source familiar with Mars Wrigley’s

  sustainable packaging development programs” who has stated that “there are critical issues to solve

  before [Mars Wrigley] can produce packaging using DNMR’s PHA at scale” and that “DNMR

  and Mars Wrigley [will only be] able to do so no sooner than 2025.” Id. at 9. Muddy Waters reports

  that it is “possible that the program never comes to fruition[.]” Id. Muddy Waters had the following


        43
        https://d1io3yog0oux5.cloudfront.net/_3cd269730dddc0993ea4420eaeff3e8a/danimerscient
  ific/db/1089/9658/pdf/Project+Green+PIPE+Presentation__Final.pdf (Last visited January 18,
  2022).



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  conversation with its well-place source at Mars Wrigley regarding Danimer’s PHA-based

  compostable packaging:

                            MW Analyst: It sounds like a lot more development is
                    needed before there’ll be kind of a sample package that can start to
                    be tested. Do you have an idea of what the timeline is?

                            Mars Source: So, that’s a good question. Because to give
                    you an idea the R&D team internally involved at Mars, that is,
                    brough to the Danimer project, was an R&D team that it’s really for
                    a long-term project, like 5 to 10 years.

                           MW Analyst: Hmm. Okay, so we’re looking at a fairly long
                    time horizon.

                          Mars Source: I mean, 2025, I hope we will have something
                    by 2025, yes.

                             MW Analyst: Okay, but you’re already like two years into
                    it, right?

                            Mars Source: Yes, we are, but the two years were mainly
                    negotiating the partnership, so, uh, of course, there were some
                    materials. I mean we already have some materials so that they were
                    tested, et cetera, but, I think like we are not there for having the
                    packaging.

                             MW Analyst: Yeah, it’s always amazing to learn like how
                    much work is involved in trying to develop a package, which seems
                    like something very simple, but it’s actually just amazing how much
                    R&D and development, and how many brains and minds and
                    people; you know how many hours go into these types of projects,
                    it’s incredible.

                    Mars Source: I can tell you it’s huge, its huge. And keep in mind,
                    for a food company. We cannot compromise the quality of our
                    goods. You know, we cannot allow ourselves to go into the
                    market with the packaging that we might have a challenge with the
                    content. It might be easier for other types of packaging that you
                    don’t pack food. But in our case, it’s extremely complicated.

           119.     One former employee noted undisclosed risks that Danimer has not revealed greatly

  impacting or having impacted many of Danimer’s customer relationships involving food

  packaging. CW3 stated that Danimer lacked food handlers’ certifications and also did not have




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  certain environmental certifications. CW3 stated that the food handlers’ certification was

  necessary because customers such as possibly Bacardi, Pepsi, or Win Cup Plastics requested that

  Danimer obtain food grade certifications or they would back out of their contracts.

           120.     The Muddy Waters Report details evidence that demand for Danimer’s PHA

  products are limited and seemed weak based on a survey of products. Rept. at 5. Specifically,

  Muddy Waters was only able to find straws and shopping bags made with Danimer’s PHA

  available for sale. Id. There was no evidence of other PHA-based products produced by Danimer

  such as “single-serving coffee pods, water bottles, plastic caps, snack foods packaging, clam shell

  containers, f&b utensils, diapers, etc.” Id. at 5-6. Muddy Waters conducted a web search for PHA-

  based product offerings for Danimer’s announced customers (WinCup phade, UrthPact, CPG

  Biolo, and Eagle Beverage) but only found that these companies only offered PHA-based straws;

  only one customer company, CPG, offered single use PHA-based bags and films. The logical

  conclusion is that Danimer’s PHA-based products had limited demand because of the Company’s

  limited PHA product application to straws.

           121.     Finally, completely contradicting Danimer’s claims of “sold out” demand for PHA,

  is the fact that in just two quarters after the DeSPAC vote and Transaction was complete, Danimer

  suddenly changed its tune and revamped its course – as so many SPACs do that make outrageous

  and unsupportable claims. On July 28, 2021, Danimer announced that it was no longer spending

  the $385 million it received from investors on increasing PHA production capacity. Instead it was

  going spend $152 million of investors’ money on purchasing a small gutted out company with

  about 10 employees named Novomer with only a pilot plant (and no proven commercial size

  production capabilities) which made a less environmentally friendly PHA called “p(3HP)” or

  Rinnovo and in the process would cut its expansion of production capacity of PHA in half. The




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  new plan substituted Rinnovo of Danimer Nodax® PHA to be used in up to 30% of Danimer’s

  blends, supposedly “freeing up Nodax”?




           122.     Even more confounding is the fact that Danimer admits this new Rinnovo product

  has a “narrower range of properties”, fewer applications and can be non-environmentally

  friendly petro-based. All of this clearly evidences the lack of commitment of customers to PHA

  and concern by Danimer of scaling its own technology:




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  H.       Defendant Failed to Disclose Material Red Flags in Defendant Croskrey’s
           Background Calling Into Question His Honesty and Integrity

           123.     A key element of the Proxy Statement/Prospectus was a description of the proposed

  management of the Company after the De-SPAC Transactions closed. Defendant Croskrey would

  be the CEO and Chairman of Danimer if the De-SPAC Transaction were approved by

  shareholders.

           124.     The background description of Defendant Croskrey portrayed his business

  experience in a favorable light, was positive and served as an inducement for investors to vote to

  approve the De-SPAC Transaction. In particular, the Proxy Statement/Prospectus represented the

  following positive facts concerning Defendant Croskrey’s experience at Armor Holdings Products,

  LLC (“Armor”), a manufacturer of military and police personal safety equipment:




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            From 1999 to 2005, Mr. Croskrey served as the president and chief executive
            officer of Armor . . . During such tenure its annual revenue increased from
            $45 million to over $300 million as a result of him overseeing the acquisition and
            integration of 13 companies and implementing associated organic growth
            initiatives.

            125.    However, undisclosed in the Proxy Statement/Prospectus were material, negative

  facts concerning Defendant Croskrey’s tenure as CEO of Armor. In particular, in 2008, Armor

  paid $30 million to the U.S. Department of Justice (“DOJ”) in 2008 to settle charges that Armor

  knowingly sold defective bullet-proof vests during Croskrey’s tenure.44 Armor’s parent company,

  Armor Holdings, Inc. was also charged by the SEC with violating the Foreign Corrupt Practices

  Act (“FCPA”) by participating in a bribery scheme from 2001 through 2006 that involved an

  attempt to obtain contracts to supply armor to U.N. peacekeeping missions.45 Armor Holdings,

  Inc. ended up paying nearly $5.7 million in disgorgement, prejudgment interest and penalties and

  also agreed to pay a $10.29 million fine to settle a parallel criminal investigation announced by

  the DOJ.46

            126.    These were material negative facts that a reasonable investor would have wanted

  to know about the Company’s proposed CEO and Chairman.

  I.        Defendants Failed to Disclose Danimer’s Internal Control Deficiencies and
            Weaknesses

            127.    During the Class Period, Defendants warned of the potential, future risk that “if”

  the Company’s “auditors identify a material weakness or significant deficiency in the internal


       44
        “Armor Holdings Products LLC Pays U.S. $30 Million for the Sale of Defective Zylon
  Bullet-Proof Vests,” Oct. 7, 2008. https://www.justice.gov/archive/opa/pr/2008/October/08-civ-
  901.html (last accessed Dec. 10, 2021).
       45
        “SEC Charges Armor Holdings, Inc. With FCPA Violations in Connection With Sales to the
  United Nations,” July 13, 2011. https://www.sec.gov/news/press/2011/2011-146.htm (last
  accessed Dec. 10, 2021).
       46
            Id.



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  control over financial reporting”, the Company could incur additional costs rectifying those issues,

  and the existence of those issues could adversely affect Danimer’s reputation or investor

  perceptions of it.

           128.     Defendants made this representation in the Registration Statement, the Feb. 2021

  Registration Statement, and the 2020 Annual Report, which was filed on March 30, 2021.

           129.     Moreover, attached to the 2020 Annual Report were certifications under Section

  302 of the Sarbanes-Oxley Act of 2002 (“SOX Certifications”) that were signed by Defendants

  Croskrey and Dowdy that represented they disclosed “based on our most recent evaluation of

  internal control over financial reporting, to the registrant’s auditors and the audit committee of the

  registrant’s board of directors (or persons performing the equivalent functions) . . . All significant

  deficiencies and material weaknesses in the design or operation of internal control over financial

  reporting which are reasonably likely to adversely affect the registrant’s ability to record, process,

  summarize, and report financial information . . . .”

           130.     On May 14, 2021, just weeks after the filing of the 2020 Annual Report, the

  Company disclosed that the 2020 Annual Report would be restated due to a material weakness in

  the Company’s internal controls, an admission that the Company’s prior representations of a

  potential, future risk and SOX Certifications were materially false and misleading at the time they

  were made:

                    “we are restating in this Amendment our Consolidated Financial
                    Statements as of and for the period ended December 31, 2020 to
                    reflect the change in accounting treatment (the “Restatement”). In
                    connection with the Restatement, we reassessed the effectiveness of
                    our disclosure controls and procedures for the period affected by the
                    Restatement. As a result of that reassessment, we determined that
                    our disclosure controls and procedures were not effective
                    because we identified a material weakness in our controls over
                    the accounting for complex financial instruments, such as the
                    Private Warrants. For more information, see Item 9A.”




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       V.      DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS

             131.   During the Class Period, Defendants made untrue statements of material facts or

  omitted to state material facts necessary in order to make the statements made, in light of the

  circumstances47 under which they were made, not misleading, and Defendants knew, or at least

  recklessly disregarded, that their representations were false and misleading at the time they made

  their representations, for the following reasons as set forth in more detail in Sections IV E-I above:

  (i) Defendants misrepresented the biodegradability of its Nodax® PHA product; (ii) Defendants

  overstated Danimer’s production of PHA capacity and planned capacity by at least 50%; (iii)

  Defendants misrepresented the demand for their Nodax® PHA, including true nature of some of

  their most prominent customer relationships and omitted the indeterminate nature of their “take of

  pay” contracts; (iv) Defendants omitted material adverse information about Defendant Croskrey’s

  background; and (v) Defendants omitted that Danimer had deficient internal controls.48

  A.         October 5, 2020 Press Release and 8-K Filing Announcing De-SPAC Transaction
             Agreement with Live Oak

             132.   The Class Period begins on October 5, 2020, when Danimer and Live Oak

  announced that Danimer had entered into a definitive merger agreement with Live Oak (the

  “October 5, 2020 press release”). The October 5, 2020 press release, filed as part of the Company’s

  filing on Form 8-K, represented the following concerning the biodegradability of Nodax®:

                    The     Company’s       signature    polymer,      Nodax™       PHA
                    (polyhydroxyalkanoate), is a 100% biodegradable, renewable, and
                    sustainable plastic produced using canola oil as a primary feedstock.
                    Nodax™ PHA is the first PHA polymer to be certified as marine

        47
        To the extent a false or misleading statement by Defendants that is identified in the
  paragraphs above is not repeated in this section, it is incorporated by reference.
        48
         The statements quoted in this section in bold and italicized typeface are materially false or
  misleading for the reasons set forth herein. Additionally, as specifically indicated below, many of
  the identified statements are alleged to have been false or misleading by omission. Thus, additional
  text is provided for context and in support of these statements’ allegedly omissive nature.



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                    degradable, the highest standard of biodegradability, which verifies
                    the material will fully degrade in ocean water without leaving
                    behind harmful microplastics. As a result, Nodax™ offers a better
                    beginning-of-life and end-of-life cycle than any of today’s
                    traditional plastics, eliminates the need for recycling and can
                    replace the 80% of plastics that are never recycled or
                    incinerated… .

                    [Defendant Croskrey:] We are well positioned to further expand
                    our 100% biodegradable products to a wide range of plastic and
                    specialty applications, with a long runway for profitable global
                    growth… .

           133.     Defendants’ representations concerning the biodegradability of Nodax® was

  materially false and misleading for the reasons set forth in Section E above.

           134.     The October 5, 2020 press release represented the following concerning Danimer’s

  production at its facilities and its relationship with its partners:

                    Danimer is currently producing and shipping Nodax™ at an
                    industrial scale level from its existing facility in Winchester,
                    Kentucky. The company has partnered with key plastics
                    manufacturers and consumer products companies such as
                    PepsiCo, Nestlé, Genpak, WinCup, Columbia Packaging Group
                    and Plastic Suppliers Inc. as they transition a wide variety of plastic
                    applications, including straws, food and beverage containers,
                    flexible packaging, agricultural and medical applications, among
                    others. Based on signed and pending contracts, the company is fully
                    sold out of all production in its Kentucky facility and will use their
                    increased capital base to significantly increase production, to meet
                    the current and long-term demand of its customer base.

                    [Defendant Croskrey:]

                    We are at an inflection point in our growth trajectory and this
                    transaction will fuel the next phase of our rapid commercial
                    expansion.     Our research-based approach to creating
                    environmentally responsible solutions has attracted a blue chip,
                    multinational customer base and our partnership with LiveOak
                    will allow us to further scale production to meet strong customer
                    demandfor our technology.

                    [Defendant Hendrix:]




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                    “Danimer represents a unique and compelling investment
                    opportunity with take-or-pay contracted revenue from a blue-chip
                    client base for fully bio-degradable plastic resin that addresses one
                    of the world’s most significant environmental challenges. PHA
                    adoption is benefiting from powerful tailwinds as the result of wide-
                    spread corporate commitments and evolving consumer preferences
                    for eco-friendly packaging solutions that address the worldwide
                    problem of plastic waste. We believe Danimer is poised for rapid
                    and sustained growth with a fully financed capacity expansion plan
                    and proprietary customer applications.”

            135.    The foregoing statements were materially false and misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV F and G above.

  B.        Danimer’s October 5, 2020 Investor Presentation and Investor Conference Call 49

            136.    On October 5, 2020, Danimer and Live Oak disseminated an investor slide

  presentation (“October 2020 Investor Presentation”) and conducted an investor conference call in

  which Defendants Croskrey and Hendrix participated.50 Defendant Hendrix stated:

                    We are very excited to announce Live Oak’s planned business
                    combination with Danimer Scientific which has an implied
                    enterprise value of approximately $525 million. This business
                    combination will bring to market a high growth, next generation
                    bioplastics company with a fully-commercialized solution to the
                    major worldwide environmental issue of single-use plastic driven
                    pollution.


       49
        Defendants’ false or misleading statements in the October 2020 Investor presentation are
  repeated with some changes in Danimer investor presentations dated February 3, 2021, March
  29, 2021, May 17 2021, August 16, 2021, and November 16, 2021, showing a correction or
  deletion of slides in response to the short-seller reports and are incorporated by reference herein.
  These presentation can be found at https://ir.danimerscientific.com/financial-
  information/presentations (Last visited January 18, 2022).
       50
         The transcript is filed with the SEC at https://www.sec.gov /Archives/edgar/data/1779020/
  /ea127764ex99-2_liveoak.htm           and    posted      on     Live     Oak’s      website      at
  https://www.liveoakacq.com/s/Live-Oak-Danimer-Scientific-Merger-Agreement-Investor-Call-
  Transcript.pdf. The October Investor Presentation referred to as slides in the transcript is posted
  on Live Oaks Website at https://www.liveoakacq.com/s/UPDATED_Project-Green-PIPE-
  Presentation_02032021_vFiling-Part-Consolidated.pdf.



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                    Danimer is a leading producer of materials that offer a better
                    beginning-of-life and end of- life cycle than any of today’s
                    traditional plastics. The company’s signature polymer is its branded,
                    canola oil-based Nodax PHA. PHA is a 100% biodegradable,
                    renewable, and sustainable plastic feedstock alternative for usage in
                    a wide variety of plastic applications including straws, food and
                    beverage containers, flexible packaging, agricultural and medical
                    applications, among others. Importantly, Danimer’s PHA polymer
                    is the first commercially available PHA in the world to be certified
                    as marine degradable, which is the highest standard of
                    biodegradability. It means the material will fully degrade in ocean
                    water without leaving behind harmful microplastics.

                    This transaction will allow Danimer to advance and accelerate the
                    commercialization of its PHA products to meet existing demand
                    from customers and partners. Upon completion of the transaction,
                    Danimer is expected to have approximately $385 million in cash and
                    be fully financed to expand its currently oversold facilities to further
                    address demand within a 500 billion pound market that is growing
                    at an 11% compound rate. The expanded production is expected to
                    support organic EBITDA growth to over $165 million by 2025,
                    resulting in an implied transaction multiple of 3.6 times, an
                    attractive entry point relative to peers…..

                    One of our consultants, McKinsey, commented early on that PHA
                    is the best end-of-life answer for single use plastics in particular, as
                    there are no other marine degradable materials available with the
                    proper performance characteristics. Even with the clearly visible
                    market acceptance that PHA has achieved, the bioplastics industry
                    has not been able to keep pace with demand resulting from the
                    powerful tailwinds of corporate sustainability commitments,
                    government regulation, and consumer awareness of the
                    environmental impact of plastic waste. Whether it’s the turtle with
                    a straw in its nose or the pictures of floating islands of plastic in
                    the ocean, virtually everyone recognizes that this is a problem that
                    has to be addressed and regulation is starting to emerge as a
                    result…..

                    …It took 13 years working with the patents that they originally
                    acquired from Procter and Gamble to get to the point where they
                    have customer applications that are supported by contracts,
                    combined with the ability to produce at commercial scale…..

                    Importantly, these and other customer relationships that are in the
                    works, provide Danimer with take-or-pay contracts that are a huge
                    differentiator in the polymer world. This is in an industry that
                    typically does not sell via forward contracts and Danimer is



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                    currently in receipt of contracts that have fully sold out its current
                    production capacity, as well as the capacity that will come online
                    with the phase two plant expansion we will discuss shortly.

                    It was important to both Live Oak and Danimer to de-risk this
                    opportunity from a capital standpoint so that the in-place
                    customer demand was matched by in-place capital. Post merger,
                    the company will be fully financed for the cost of both the phase
                    two expansion and a new greenfield facility that the company
                    believes will allow it to achieve over $165 million of EBITDA by
                    2025 without the need to go back to the capital markets. Current
                    demand expressed by existing customers is far larger than
                    what’s being presented here, but we’re putting in front of
                    investors a fully financed business plan that should instill great
                    confidence in the company’s ability to execute the plan.

           137.     Defendant Croskrey represented the following concerning the biodegradability of

  Nodax:

                    I’ll start off on Slide 7 with a quick background on PHA to give you
                    some context on what we produce….

                    When we think about polymers for plastics, what you want to know
                    is whether it is renewable or nonrenewable, and what happens at the
                    end of its life. Obviously, fossil fuels are nonrenewable and typically
                    don’t go away; they’re accumulating in landfills and in nature. And
                    some biopolymers don’t go away either. However, those that do can
                    get industry certifications for five different environments. The
                    products that are on the market today are all industrially
                    compostable, which is the easiest standard to achieve, and it means
                    they have to find their way into an industrial compost facility where
                    they can break down in the presence of high heat and moisture. The
                    next and more difficult standard is home compostable, which is the
                    same thing but requires less heat. Then there is soil degradable,
                    where you don’t need any heat; it just has to be broken down by
                    bacteria. Then fresh water and finally marine degradable are the
                    most difficult and highest standards to achieve because there’s less
                    and less bacteria. Danimer PHA products are certified as marine
                    degradable….

                    On Slide 11, we talk about are our base business in the upper right
                    hand corner…

                    The customers understand that it is a symbiotic relationship, so to
                    make it work, they have taken multiyear time horizons and 100%
                    take-or-pay contracts on our products to help us drive costs out



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                    of our business as we scale up production to meet their needs.
                    We have contracts with large companies underpinning our capacity
                    build-out and many more contracts in advanced stages of discussion
                    which we expect will build up our revenues to over $500 million in
                    2025….

                    At this time, we are the only commercial scale PHA company
                    building capacity, we believe, globally. Our product can be
                    produced efficiently, giving us a dependable, user friendly
                    product with proven applications. And finally, the long-term
                    customer contracts have allowed us to move forward on our new
                    capacity. That’s evidenced by the contracts that you’ll see on Slide
                    15.

                    We’ll talk about Kentucky on Slide 16. The contract structures I just
                    discussed were key to getting the phase one build out of our
                    Kentucky facility off the ground. We were small, so without a
                    contract there was no viable way to build a plant, and without a plant
                    there was no impetus to get the customer to sign. As I mentioned
                    earlier, in 2018 we partnered with some customers …We used that
                    money plus advance payments from certain customer contracts to
                    build out phase one of the project, which will generate about 20
                    million pounds of finished product once fully ramped up. With the
                    proceeds from this merger transaction we will start on phase two,
                    which will bring the plant to its full capacity of about 65 million
                    pounds of finished product.

                    If you look over at the upper right hand corner of that photograph,
                    you’ll see some green space. That’s where we’re planning to build
                    the greenfield facility that is expected to add an additional 125
                    million pounds of finished product. On Slide 17, the site preparation
                    and engineering work for the greenfield facility are expected to
                    occur in 2021. We plan to break ground in the first quarter of 2022
                    and expect to have that facility come online in the fourth quarter of
                    2023. Based on our current pipeline, the greenfield plant is on
                    pace to be sold out without any additional customers. With
                    ongoing productivity improvements expected through 2027 and
                    onsite space for further expansion, we have a long runway for
                    growth from our facilities.

                    On Slide 18, we further detail the phasing of our capacity build outs.
                    Risk is minimized due to customer production commitments
                    providing a visible ramp-up in expected PHA demand across a
                    broadening field of applications and mandates. Importantly, our
                    expected growth will be fully financed from this merger
                    transaction without the need for additional equity to meet our
                    targets.



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                    On Slide 19, we’ve got an excellent leadership team. Our leaders
                    have been with us since the beginning with most having joined us
                    with years of industry experience. They’ve been here every step of
                    the way and they’re the ones that have helped develop our way of
                    doing business to get us this far. Our team is comprised of
                    acknowledged leaders in the bioplastics space and are
                    recognized for having made a measurable difference in this
                    industry. I am grateful for this team and all the people at Danimer
                    that have allowed us to build this firm launch pad that we have
                    today.

           138.     Defendant Hendrix then continued:

                    There are several important items to highlight. First, Danimer is not
                    a company that’s going to burn cash through operations. All of the
                    transaction proceeds going on the balance sheet will be used to fund
                    the phase two expansion and the greenfield facility. Second,
                    demand is in place so this is not a ‘build it and they will come’
                    story. From a capital market perspective, these two aspects provide
                    a de-risked pathway to over $165 million of projected EBITDA.

           139.     The October 2020 Investor Presentation included a slide that represented PepsiCo

  was a Danimer PHA customer that would help drive it to 2025E PHA revenue of $403.4 million:




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           140.     .At that time PepsiCo was not a commercialized PHA customer. Later Pepsi would

  introduce a bag made with PLA, not PHA51. This graphic along with other statements highlighting

  PepsiCo’s soon to be sold equity stake and the R&D work with Danimer created the false

  impression that Pepsi was using or committed to using Danimer’s PHA in its products. To the

  extent PepsiCo was using PHA, it was only developmental or R&D work.

           141.     Further, on October 5, 2020, Defendants caused LOAK to file with the SEC on its

  Form 425 an interview with Cheddar News and Danimer CEO Stephen Croskrey. During the




      51
         Danimer admits this on September 17, 2021 in responding to Muddy Water Report.
  https://www.businesswire.com/news/home/20210917005097/en/Danimer-Scientific-Comments-
  on-Misleading-Muddy-Waters-Report



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  interview, Croskrey stated that “[o]ur particular polymer is marine degradable, which means if

  it finds its way into the ocean, it will still go away.”

            142.    The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-G above.

  C.        Defendants’ October 6, 2020 Call with TD Ameritrade

            143.    On October 6, 2020, Defendant Croskrey participated in a discussion with TD

  Ameritrade.52 Defendant Croskrey represented the following concerning the biodegradability of

  Nodax®:

                    The single use plastics market is part of an 800 billion pound plastic
                    market. About 500 billion pounds of that, we believe, can be
                    replaced with biopolymers. And most of those are single use plastics
                    like what you’re showing the video of. These are things that get used
                    once and then they become trash, and a lot of them are not finding
                    their way even into landfills.

                    And even in the landfill, they won’t break down. So, the way that
                    PHA, this polymer that we’re producing, polyhydroxyalkanoate, it’s
                    renewable and it’s made by feeding vegetable oil to bacteria, who
                    store this polymer, PHA, as energy reserve. I call it bug fat. The
                    scientists don’t like that, but I call it bug fat, because it works just
                    like humans. If we eat more than we need, we get fat. So, we extract
                    that energy reserve from inside of the microorganism, and that is the
                    plastic resin. That’s the beauty of this. When you make a fork or a
                    straw or whatever you want to make out of it, if it finds its way into
                    the wrong place, bacteria will consume it. It’s awesome.

            144.    The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E above.




       52
       https://ir.danimerscientific.com/sec-filings/all-sec-filings/content/0001213900-20-
  030358/0001213900-20-030358.pdf



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  D.        Danimer’s October 5, 2020 Investor Presentation (Attachment to Form 8-K)

            145.     On October 5, 2020, the Company filed its investor presentation as an attachment

  to a Form 8-K with the SEC (“October 2020 Investor Presentation”). In this presentation, the

  Company stated that Nodax® is “[f]ully degradable in 12-18 weeks after the product is

  discarded,” and that it is “[a]ble to effectively biodegrade in both anaerobic and aerobic

  environments such as a waste treatment facility or the ocean.”53

            146.    The October 2020 Investor Presentation represented that the Company represented

  Danimer’s “Rapidly Growing Blue Chip Customer Base with Take-or-Pay Contracts has led to

  [a] Fully Sold-Out Position,” and represented that in 2020 Danimer would produce PHA finished

  products volume of 2 million pounds and $6 million in sales for 2020, implying a PHA average

  selling price of $3.00 per pound. Moreover, to meet this supposed customer demand, Danimer

  projected that completion of their Phase I build-out would allow Danimer to produce

  approximately 20 million pounds of finished PHA product per year and the capacity of the plant

  can be expanded by another 45 million additional pounds of finished PHA product, bringing total

  plant capacity up to approximately 65 million pounds per year, by investing another $100 million

  in the future for the Phase II expansion of such facility.

            147.    Defendants also made the following statements regarding Danimer’s purported

  take-or-pay contracts and demand for PHA:

                    “Intense demand from blue chip multinational customers has
                    resulted in 100% committed take-or-pay contracts for current
                    production and Phase II capacity build-out”




       53
            Investor       Presentation,     Danimer  Scientific  Inc.    (Oct.   2020),
  https://www.sec.gov/Archives/edgar/data/0001779020/000101376220000051/ea127764ex99-
  3_liveoak.htm (last visited January 16, 2022)



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                    “Rapidly Growing Blue Chip Customer Base with Take-or-Pay
                    Contracts has Led to Fully Sold-Out Position through Phase II
                    Capacity Addition”

           148.     Defendants also repeatedly touted a supposed equity investment by PepsiCo. The

  Company’s October 2020 Investor Presentation, which was reposted on Danimer’s website on

  February 3, 2021, noted an “Equity Investment from Pepsi”. Defendants also stated that PepsiCo

  “[o]wns 6% of Danimer’s common equity.”

           149.     Defendants also claim a misleading production capacity set forth and touted

  Danimer’s experienced management with a proven track record, including Defendant Croskrey

           150.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-H above.

  E.       Danimer’s October 15, 2020 Press Release Announcing United Soybean Board
           Grant

           151.     On October 15, 2020, Danimer issued a press release stating that the Company had

  received a United Soybean Board grant to support biodegradable plastic production. This release

  provided, in relevant part, that Danimer had received a $350,000 grant to investigate the use of

  high-oleic soybean oil in the production of PHA and that “PHA was verified as an eco-friendly

  alternative to petrochemical plastics by the University of Georgia (UGA) and the UGA New

  Materials Institute in a 2018 study. The material reliably degrades without leaving behind

  harmful microplastics in a wide range of environments, including home compost units, landfills

  and oceans.”

           152.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Section IV E above.




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  F.        Bacardi/Danimer October 21, 2020 Press Release Announcing 100% Biodegradable
            Spirits Bottle

            153.    On October 21, 2020 Bacardi and Danimer issued a joint press release entitled

  “Bacardi Fist in Fight Against Plastic Pollution With 100% Biodegradable Spirits Bottle.”54 The

  subheadings included “World’s most eco-friendly spirits bottle will biodegrade in 18 months” and

  “Bacardi swaps crude oil for seed oil as petroleum-based plastics are replaced by plant-based

  ‘wonder material’ – a silver bullet in fight against plastic pollution”. The press release stated in

  part:

                    Hamilton, Bermuda, October 21, 2020 – Bacardi, the world’s largest
                    family-owned spirits company, has made a giant leap forward in the
                    fight against climate change and plastic pollution today, as it unveils
                    plans to put the world’s most sustainable spirits bottle on shelf by
                    2023.

                    The new 100% biodegradable bottle will replace 80 Million
                    plastic bottles – 3,000 tons of plastic – currently produced by
                    Bacardi across its portfolio of brands every year. This revolutionary
                    move by Bacardi is possible thanks to its close collaboration with
                    Danimer Scientific, a leading developer and manufacturer of
                    biodegradable products. Petroleum-based plastics used by Bacardi
                    today will be replaced by Danimer Scientific’s Nodax™ PHA, a
                    biopolymer which derives from the natural oil of canola plant seeds.
                    While a regular plastic bottle takes over 400 years to decompose,
                    the new spirits bottle made from Nodax™ PHA will biodegrade in
                    a wide range of environments, including compost, soil,
                    freshwater and sea water, and after 18 months disappear
                    without leaving behind harmful microplastics.

                    As well as the new 100% biopolymer spirits bottle, Bacardi is
                    also creating a sustainably sourced paper bottle. By integrating the
                    Nodax™ PHA polymer, this alternative solution will have
                    equally strong environmental credentials while ensuring the
                    quality and taste of the spirit inside a bottle made of paper is as
                    exceptional as one made of glass.

                    Jean-Marc Lambert, Senior Vice President, Global Operations for
                    Bacardi, said: ‘When we set ourselves the goal of being 100%
       54
        https://www.bacardilimited.com/media/news-archive/bacardi-first-in-fight-against-plastic-
  pollution-with-100-biodegradable-spirits-bottle/



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                    plastic free by 2030, we knew that it would take ground-breaking
                    advances in packaging design to make it achievable, and that’s
                    exactly what’s happening through our partnership with
                    Danimer.’ … …

                    Nodax™ PHA was verified as a truly biodegradable alternative
                    to petrochemical plastics by the University of Georgia (UGA)
                    and the UGA New Materials Institute in a 2018 study. Danimer
                    Scientific currently uses the material for a wide range of
                    applications, including thermoformed trays, drinking straws,
                    flexible and multi-layer film packaging, coatings, disposable
                    cutlery, and more.

                    “Nodax™ PHA is one of the most promising eco-friendly materials
                    in the world today because it delivers the biodegradability that
                    consumers demand without losing the quality feel they receive
                    from traditional plastic,” said Scott Tuten, Chief Marketing &
                    Sustainability Officer at Danimer Scientific. “The material
                    provides the best of both worlds, and we look forward to working
                    with Bacardi and incorporating PHA into their iconic packaging.”

           154.     The press release contains an “about” paragraph of Danimer Scientific and a link

  to its website. Danimer also posted a link to the press release on its Facebook page on October 22,

  2020 stating, “Danimer Scientific is working with Bacardi in development of the world’s first fully

  biodegradable spirits bottle, which is just the beginning of their journey to be 100% plastic-free

  by 2030! Want to know more about the world’s most sustainable spirits bottles set to be on shelves

  by 2023? Click here: https://www.bacardilimited.com/media/news-archive/bacardi-first-in-fight-

  against-plastic-pollution-with-100-biodegradable-spirits-bottle/.”55

           155.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Section IV E above.




      55
           https://www.facebook.com/danimersci/photos/a.484872841544714/3714839435214689)
  (last accessed January 10, 2022).



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  G.        Danimer’s November 17, 2020 Press Release Announcing Eagle Beverage Products
            Partnership

            156.    On November 17, 2020, Danimer issued a press release announcing that the

  Company “will produce biodegradable drinking straws for the quick service restaurant (QSR)

  industry” along with Eagle Beverage Products.56 The press release stated in relevant part:

                    Eagle Beverage will manufacture the straws using Danimer
                    Scientific’s       proprietary       biopolymer,          Nodax™
                    polyhydroxyalkanoate (PHA). Tested by University of Georgia
                    (UGA) researchers and the UGA New Materials Institute, PHA is
                    made from sustainable materials, such as canola oil, to produce a
                    proven biodegradable alternative to traditional petrochemical
                    plastics. The straws are expected to be available for Eagle
                    Beverage’s QSR customers to purchase in early 2021. After
                    launching the straws, Eagle Beverage plans to explore expanding its
                    offerings to include compostable food containers, packaging and
                    more.

                    …

                    The straws will degrade in environments ranging from industrial
                    composting facilities to home compost units and oceans without
                    leaving behind microplastics.

                    “PHA has become the go-to material for sustainable alternatives
                    to single-useplastic that do not sacrifice reliability or quality,”
                    said Danimer Scientific CEO Stephen Croskrey.

            157.    The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Section IV E above.

  H.        Danimer’s Registration Statement and Proxy Statement/Prospectus

            158.    On October 28, 2020, Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford

  and Sweet caused Live Oak to file a registration statement on Form S-4 with the SEC. The



       56
       https://www.businesswire.com/news/home/20201117005256/en/Danimer-Scientific-and-
  Eagle-Beverage-to-Produce-Biodegradable-Drinking-Straws-for-Quick-Service-Restaurants



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  registration statement was amended on November 30 and December 15, and the final registration

  statement was filed with the SEC on Form S-4/A on December 16, 2020. These all contained or

  repeated the same false or misleading statements, or omitted the same material information. On

  December 16, 2020, the SEC declared the registration statement effective.

           159.     On December 16, 2020, Defendants Hendrix, Tarbox, Amboian, Braham, Furer,

  Ford and Sweet caused Live Oak to file the Proxy Statement/Prospectus on Form 424(b)(3) with

  the SEC (the “Proxy Statement/Prospectus”). Collectively, the Proxy Statement/Prospectus and

  registration statement declared effective by the SEC on December 16, 2020 are referred to as the

  “Registration Statement”.

           160.     Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford and Sweet signed the

  Registration Statement.

           161.     The Proxy Statement/Prospectus represented and repeated many of the false

  statements above, and included the October Investor Presentation. In addition, it included the

  following concerning the biodegradability of Nodax®:

                    Highly Attractive PHA Technology. Live Oak’s management and
                    board of directors believe that Danimer is a high-growth next
                    generation eco-tech company that produces 100% biodegradable
                    polymers for use in plastic applications. Its polyhydroxyalkanoates
                    (“PHA”) serve as a best end-of-life solution for plastics and
                    Danimer is the leading PHA innovator with patent protected
                    technology and 13 years of production knowhow;

           162.     The Proxy Statement/Prospectus represented the following concerning Danimer’s

  customers and demand for Nodax®:

                    Strong Partnerships. Live Oak’s management and board of
                    directors considered Danimer’s strong partnerships with industry
                    leaders, such as CPG brands including Pepsi and Nestlé and key
                    converters such as Wincup and Genpak, which it believes contribute
                    to Danimer’s rapidly growing blue chip customer base with take-or-
                    pay contracts that has led to fully sold-out position through Phase II
                    capacity addition;



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           163.     The Proxy Statement/Prospectus represented the following concerning Defendant

  Croskrey’s background:

                    Stephen E. Croskrey has been Danimer’s chief executive officer
                    and a member of Danimer’s board of directors since February 2016.
                    Mr. Croskrey is a business leader with over 30 years of experience
                    in overseeing the strategic direction and operations of companies
                    that manufacture and market a variety of products such as industrial
                    fibers, and law-enforcement gear. From 1999 to 2005,
                    Mr. Croskrey served as the president and chief executive officer
                    of Armor Holdings Products, LLC, a major manufacturer of
                    military, law enforcement, and personnel safety equipment.
                    During such tenure its annual revenue increased from
                    $45 million to over $300 million as a result of him overseeing the
                    acquisition and integration of 13 companies and implementing
                    associated organic growth initiatives. Mr. Croskrey has also held
                    senior executive positions at Allied Signal and Mobil Oil… He is
                    well-qualified to serve on the New Danimer Board due to his
                    extensive leadership, operational and advisory background as
                    well as his significant strategic experience in acquiring and
                    integrating companies.

           164.     The Proxy Statement/Prospectus warned of the potential, future risk that “if” the

  Danimer’s “auditors identify a material weakness or significant deficiency in the internal control

  over financial reporting”, the Company could incur additional costs rectifying those issues, and

  the existence of those issues could adversely affect Danimer’s reputation or investor perceptions

  of it. Moreover, Defendants warned that “Danimer may not have adequate personnel with the

  appropriate level of knowledge, experience and training in the accounting policies, practices or

  internal controls over financial reporting required of public companies in the United

  States.” Defendants’ representations warned of a potential risk concerning internal controls

  weaknesses that created the false impression that Danimer was not suffering from a material

  weakness in internal controls at that time, when in fact, this risk had already materialized.




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           165.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-I above.

  I.       Danimer’s December 29, 2020 Press Release Announcing Completion of De-SPAC
           Transaction with Live Oak

           166.     On December 29, 2020, Danimer announced the completion of its business

  combination with Live Oak, after the transaction was unanimously approved by Live Oak’s board

  of directors and Live Oak’s shareholders at a special meeting held on December 28, 2020. In this

  release, Danimer announced that its shares would begin trading under the ticker symbol DNMR

  on the NYSE the following day, December 30, 2020.

           167.     In the December 29, 2020 release, Danimer also repeated the same or nearly

  identical statements as made in previous communications to the investing public including:

                    “The completion of our business combination represents a pivotal
                    milestone in the global fight against one of the world’s biggest
                    environmental problems – single use plastic waste and
                    pollution,” said Stephen E. Croskrey, Chief Executive Officer of
                    Danimer Scientific. “We are now fully financed to expand
                    production capacity and meet the considerable expected
                    demand from our blue chip, multinational customer base. Our
                    customers view our Nodax™ PHA technology as a core
                    component of their corporate sustainability strategy and a key
                    vehicle to achieve their ESG commitments of reducing plastic
                    waste by making their plastic packaging fully biodegradable.
                    We are excited to become a publicly traded company and enter the
                    next phase of growth as we broaden the reach of our remarkable
                    Nodax™ technology.”

                    Danimer Scientific is a pioneer in creating environmentally
                    responsible and natural alternative solutions to traditional
                    petroleum-based resins. The Company’s signature polymer,
                    Nodax PHA (polyhydroxyalkanoate), is a 100% biodegradable,
                    renewable, and sustainable plastic produced using canola oil as a
                    primary feedstock. Nodax PHA is the first PHA polymer to be
                    certified as marine degradable, the highest standard of
                    biodegradability, which verifies the material will fully degrade
                    in ocean water without leaving behind harmful microplastics.



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                    As a result, Nodax offers a better beginning-of-life and end-of-life
                    cycle than any of today’s traditional plastics and can replace the 80%
                    of plastics that are never recycled or incinerated.

                    Danimer Scientific is currently producing and shipping Nodax at
                    a commercial scale level from its existing facility in Winchester,
                    Kentucky. The Company has partnered with key manufacturers and
                    consumer products companies such as PepsiCo, Nestlé, Bacardi,
                    Genpak, WinCup, Columbia Packaging Group, Kemira and Plastic
                    Suppliers Inc. as they introduce more sustainable alternatives to
                    straws, food and beverage containers, and flexible packaging,
                    among others. Based on signed and pending contracts, the
                    Company is fully sold out of all production in its Kentucky
                    facility and will use its increased capital base to significantly
                    increase production in seeking to meet the expected current and
                    long-term demand of its customer base.

                    Rick Hendrix, outgoing Chief Executive Officer of Live Oak and
                    now a member of the Board of Directors of Danimer Scientific,
                    commented, “Danimer Scientific’s 100% biodegradable
                    products put the Company at the forefront of sustainability and
                    ESG leadership with innovative technologies that minimize
                    exploitation of natural resources and enable customers to
                    incorporate environmentally responsible products into their
                    supply chains. Danimer Scientific represents a unique and
                    compelling ESG investment opportunity with what we believe is a
                    clear path to profitable growth. We are delighted to complete this
                    business combination to accelerate the Company’s growth and
                    create value for Danimer Scientific’s team members, customers,
                    shareholders and the environment.”

           168.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-G above.

  J.       Defendant Croskrey’s December 30, 2020 Statement on CNBC that it was “sitting
           on over $200 million of take or pay off agreements.”

           169.     On December 30, 2020, Defendant Croskrey appeared on CNBC’s widely watched

  investor program “Squawk Box” televised program with host Joe Kernen, which in December of




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  2020 had a monthly average audience of 329, 900.57 The segment was entitled “THE YEAR OF

  THE SPAC, 2020 ENDS WITH PLASTICS DEAL”58 In the interview Defendant Croskrey

  repeated claims that Danimer achieved the “Holy Grail of Plastics” that would completely go away

  in the ocean in 8 weeks, and added that Danimer had been sitting on over $200 million of take or

  pay agreements and had customers like PepsiCo, Nestlé, and Bacardi, that were expecting Danimer

  to be able to grow its capacity:




                    KERNEN: You were flying high in march uh and then came the
                    pandemic and you were ready to just roll out this really interesting
                    stuff which we'll talk about in a second steve but then the pandemic
                    hit uh so this back right now is the right way for you to go uh because



      57
       Cable Rankings https://ctv.kwayisi.org/networks/cnbc/squawk-on-the-street/ (last accessed
  January 15, 2021.)
      58
        Danimer Scientific CEO Stephen Croskrey on going public through a SPAC,
  https://www.cnbc.com/video/2020/12/30/danimer-scientific-biodegradable-plastic-spac-squawk-
  box.html



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                    you can immediately put some cash on the balance sheet to honor
                    the contracts you have with these big uh with these big companies.

                     CROSKREY: That's right joe thank you for having me on uh that's
                    a you you've answered the question for me there. …so we had a
                    we've always kind of taken a stepladder approach to financing and
                    we launched the holy grail of plastic in March and two days later
                    the covid shutdown came so that kind of blew up our expansion
                    plans from a financing standpoint even though we were sitting on
                    uh over 200 million dollars to take our payoff ticket agreements
                    and we had customers like Pepsico Nestle Bacardi you know
                    expecting us to be able to grow our capacity so we had to find a
                    way to find a lot of cash fast and that's what we did.

                    KERNEN: You said holy grail in looking at into the PHA what's it
                    called PHA uh the compound yeah the compound yep it has the
                    highest level of biodegradability which is called marine
                    biodegradable because like and I’m learning from just looking into
                    your company all plastics need bacteria to eventually decompose
                    but it doesn't happen quickly and it may not happen completely and
                    that's what your stuff looks like after eight weeks even if it was in
                    the ocean it goes to it doesn't leave any micro plastic pieces around
                    at that point .




                    CROSKREY: That's right it is consumed enzymatically by bacteria.
                    … it's kind of nature's uh recycling uh plan when if these products
                    get in into places that they don't belong like the ocean they will be




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                    consumed by bacteria and go away completely. There is no there
                    are the preferred food source for bacteria so there is no plastic.

           170.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-G above.

  K.       Danimer’s Registration Statement on Form S-1 and Prospectus for the February
           2021 Offering

           171.     On January 28, 2021, Danimer filed a Registration Statement on Form S-1 with the

  SEC seeking to issue up to 32,435,961 shares of common stock and up to 16,279,253 shares of

  Class A common stock issuable upon the exercise of warrants and options previously issued by

  Legacy Danimer and Live Oak, which consists of up to 6 million shares of common stock that are

  issuable upon the exercise of 6 million warrants originally issued in a private placement in

  connection with Live Oak’s IPO, up to 10 million shares of common stock issuable upon the

  exercise of 10 million warrants originally issued in Live Oak’s IPO, and up to 279,253 shares of

  common stock issuable upon exercise of “Non- Plan Legacy Danimer Options.” According to the

  Company, Danimer “will receive the proceeds from any exercise of any Warrants for cash.” The

  January registration statement repeats many of the false or misleading statements identified above,

  and omits the material information identified above.

           172.     On February 16, 2021, Danimer filed a Prospectus/Registration Statement on Form

  424B3 with the SEC (the “February Registration Statement”) to consummate the offering, and the

  SEC declared the Registration Statement effective the same day. Defendants Croskrey, Dowdy,

  Amboian, Hendrix, Basco, Calhoun, Hunt, Noda and Pratt caused Danimer to file a prospectus on

  Form 424(b)(3) with the SEC (the “February 2021 Prospectus”). The February 2021 Registration

  Statement was signed by Defendants Croskrey, Dowdy, Amboian, Hendrix, Basco, Calhoun, Hunt,

  Noda and Pratt. The February 2021 Registration Statement repeats many of the same false or



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  misleading statements made above by Defendants, and omitted the material information identified

  above. In particular, the February 16 Registration Statement contained the same or nearly identical

  statements as those alleged in the January 28 Registration Statement regarding the biodegradability

  of Nodax®, the size of Danimer’s operations, and Danimer’s internal controls.

           173.     For example, the February 2021 Registration Statement stated in relevant part:

                    Having successfully scaled up PHA production from the
                    laboratories to a contract manufacturer and later to its own
                    commercial development plant, Danimer recently has begun
                    making PHA on a commercial scale. … Once Phase I is
                    producing at full capacity, Danimer expects to produce
                    approximately 20 million pounds of finished product per year.
                    Danimer believes that the capacity of the plant can be expanded
                    by another 45 million additional pounds of finished product,
                    bringing total plant capacity up to 65 million pounds per year,
                    ….



           174.     The February 2021 Registration Statement represented the following concerning

  Defendant Croskrey’s background:

                    Stephen E. Croskrey. Mr. Croskrey has served as chairman of the
                    Board and chief executive officer of Danimer since December 2020.
                    Prior to that, Mr. Croskrey was Legacy Danimer’s chief executive
                    officer and a member of the board of directors of Legacy Danimer
                    since February 2016. Mr. Croskrey is a business leader with over
                    30 years of experience in overseeing the strategic direction and
                    operations of companies that manufacture and market a variety
                    of products such as industrial fibers, and law-enforcement gear.
                    From 1999 to 2005, Mr. Croskrey served as the president and
                    chief executive officer of Armor Holdings Products, LLC, a
                    major manufacturer of military, law enforcement, and
                    personnel safety equipment. During such tenure its annual
                    revenue increased from $45 million to over $300 million as a
                    result of him overseeing the acquisition and integration of 13
                    companies and implementing associated organic growth
                    initiatives… He is well-qualified to serve on the Board due to his
                    extensive leadership, operational and advisory background as
                    well as his significant strategic experience in acquiring and
                    integrating companies.




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           175.     The February 2021 Registration Statement also represented the following

  concerning Danimer’s internal controls:

                    Danimer will face increased legal, accounting, administrative and
                    other costs and expenses as a public company that Danimer does not
                    incur as a private company. The Sarbanes-Oxley Act of 2002 (the
                    “Sarbanes-Oxley Act”), including the requirements of Section 404,
                    as well as rules and regulations subsequently implemented by the
                    SEC, the Dodd-Frank Wall Street Reform and Consumer Protection
                    Act of 2010 and the rules and regulations promulgated and to be
                    promulgated thereunder, the PCAOB and the securities exchanges,
                    impose additional reporting and other obligations on public
                    companies. … if any issues in complying with those requirements
                    are identified (for example, if the auditors identify a material
                    weakness or significant deficiency in the internal control over
                    financial reporting), Danimer could incur additional costs rectifying
                    those issues, and the existence of those issues could adversely affect
                    Danimer’s reputation or investor perceptions of it. …

                    Danimer’s failure to timely and effectively implement controls and
                    procedures required by Section 404(a) of the Sarbanes-Oxley Act
                    could have a material adverse effect on its business.

                    Danimer is required to provide management’s attestation on internal
                    controls. The standards required for a public company under Section
                    404(a) of the Sarbanes-Oxley Act are significantly more stringent
                    than those required of Danimer as a privately-held company.
                    Management may not be able to effectively and timely implement
                    controls and procedures that adequately respond to the increased
                    regulatory compliance and reporting requirements. If Danimer is not
                    able to implement the additional requirements of Section 404(a) in
                    a timely manner or with adequate compliance, it may not be able to
                    assess whether its internal controls over financial reporting are
                    effective, which may subject it to adverse regulatory consequences
                    and could harm investor confidence and the market price of its
                    securities.

           176.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-I above. Also,

  Danimer was producing and could produce less than a quarter of the 20 million pounds of finished

  PHA as represented , and the end of Phase II would bring production well less than half the stated



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  65 million pounds; and Danimer was suffering from internal control deficiencies and Danimer’s

  disclosure controls and procedures were not effective because of a material weakness in Danimer’s

  controls over the accounting for certain financial instruments. Defendants’ representations warned

  of a potential risk concerning internal controls weaknesses that created the false impression that

  Danimer was not suffering from a material weakness in internal controls at that time, when in fact,

  this risk had already materialized.

  L.        Danimer Press Release about Mars Wrigley Partnership

            177.    On March 16, 2021, Danimer issued a press release announcing that it had entered

  into an agreement with Mars Wrigley “to develop an innovative home compostable packaging for

  a more sustainable planet.”59 In this release, Danimer stated:

                    Danimer Scientific’s signature packaging - Nodax® polyhydroxy–
                    alkanoate (PHA) – is produced through natural fermentation
                    processes using plant oils such as soy and canola and biodegrades in
                    both soil and marine environments. Mars will continue to evaluate
                    opportunities to scale this novel, innovative and sustainable
                    packaging technology across its portfolio of brands and categories.

                    Danimer Scientific and Mars Wrigley plan to introduce
                    Nodax®PHA into flexible and rigid packaging that reliably
                    breaks down in both industrial composting facilities and
                    backyard compost units, offering an enhanced value proposition
                    for environmentally conscious consumers and retailers. Sourced
                    from the seeds of plants such as canola and soy, Nodax®PHA can
                    serve as an alternative to traditional petrochemical plastic and has
                    been certified as biodegradable in soil and marine
                    environments. In addition to better end-of-life options, Nodax®
                    PHA is renewably sourced, making it a truly circular material that
                    helps eliminate waste.




       59
        https://danimerscientific.com/2021/03/16/mars-wrigley-and-danimer-scientific-help-
  environmentally-conscious-consumers-to-compost-at-home-by-developing-biodegradable-
  packaging-from-natural-ingredients/



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           178.     These representations were materially false or misleading, or omitted material

  information for the reasons set forth in Section IV G above.

           179.      As set out below, Muddy Waters learned the Mars Wrigley contract will likely not

  be using in scale a DNMR plastics wrapper before 2025 – if ever.

  M.       Danimer’s March 29, 2021 Fourth Quarter and Full Year 2020 Financial Results

           180.     On March 29, 2021, the Company announced its fourth quarter and full year 2020

  financial results. In the March 29, 2021 press release, Danimer further stated that:

                    Facility Network Expansion Updates

                    Market demand remains robust for Danimer’s signature polymer,
                    Nodax™ PHA (polyhydroxyalkanoate), a 100% biodegradable,
                    renewable, and sustainableplastic produced using canola oil as a
                    primary feedstock. Expanding commitments from blue chip
                    multinational consumer packaging customers support Danimer’s
                    announced nameplate capacity additions to collectively produce
                    and deliver up to an estimated 315 million pounds of finished PHA
                    product per year.

                    Today the Company announced that it plans to double the
                    anticipated capacity of its previously disclosed greenfield facility
                    from 125 million to 250 million finished pounds of PHA products
                    annually. … Based on the current demand pipeline, the Company
                    continues to forecast that capacity at the greenfield plant will be
                    sold out.

           181.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-G above.

  N.       Danimer’s March 29, 2021 Earnings Call

           182.     On March 29, 2021, Danimer held an earnings call with analysts to discuss its

  fourth quarter and full year 2020 financial results. On this call, Defendant Croskrey stated:

                    I’m extremely pleased with our numerous accomplishments during
                    2020 to end the year with an outstanding customer base and an
                    unrivaled commercial-scale bioplastic technology platform. …



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                    On today’s call, we are going to address 4 key takeaways: First, the
                    depth and capabilities of our high-growth next-generation eco-tech
                    company that produces 100% biodegradable polymers for use in
                    plastic applications; second, our massive addressable market
                    spanning 500 billion pounds; third, our unrivaled growth potential
                    from intense demand by blue-chip multinational customers; and
                    finally, the progress we have made to significantly expand our
                    business to meet customer demand.

                    …

                    Bioplastics, particularly PHA, are a viable end-of-life solution to
                    truly address the growing need to reverse the global plastics crisis.
                    …

                    We have entered into new partnerships, including our March
                    announcement of a 2-year partnership with Mars to develop
                    biodegradable packaging as part of their supply chain. We entered
                    into an agreement with Bacardi to make a biodegradable and
                    compostable spirits bottle to help Bacardi replace 80 million
                    plastic bottles. And more recently, we announced that we intend to
                    double the size of our planned greenfield facility to further capture
                    the growing demand from customers.

           183.     Also on this call, Defendant Dowdy stated:

                    [Recall] today that we are currently producing PHA-based resins out
                    of our Kentucky facility, having recently completed the first of a 2-
                    phase expansion for PHA production. Phase I added 20 million
                    pounds of finished product nameplate60 production capacity with
                    fermentation runs starting in March 2020, at the same time the
                    pandemic-related lockdowns began. Phase II construction has
                    commenced in December of 2020, and is expected to add an
                    additional 45 million pounds of finished product nameplate
                    capacity in the second quarter of 2022, with production ramping up
                    thereafter. The completion of both phases will bring our total


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         Nameplate capacity, also known as the rated capacity, nominal capacity, installed capacity,
  or maximum effect, is the intended full-load sustained output of a facility such as a power
  station, electric generator, a chemical plant, fuel plant, mine, metal refinery, and many others.
  Nameplate capacity is the theoretical output registered with authorities for classifying the unit.
  For electric power stations, the power output is expressed in Megawatt electrical (MWe). For
  fuel plants, it is the refinery capacity in barrels per day.
  https://en.wikipedia.org/wiki/Nameplate_capacity#:~:text=Nameplate%20capacity%2C%20also
  %20known%20as,metal%20refinery%2C%20and%20many%20others (last accessed January 16,
  2022.)



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                    nameplate PHA capacity up to 65 million pounds of finished
                    product per year.

           184.     During the March 29, 2021 earnings Croskrey further stated:

                    During 2020, we completed construction of the world’s first
                    commercial PHA facility, and went through a rigorous destocking
                    process all during a pandemic, while simultaneously negotiating
                    development agreements with Mars and Bacardi.

                    […]

                    We have already built our first commercial scale production facility,
                    and we have a significant pipeline of new capacity to extend our
                    leadership position. We have aligned the majority of our expansion
                    plans based on long-term partnerships with customers. Our
                    customers are mainly major blue-chip multinational brands that
                    have all made long-term commitments to make their plastic
                    packaging recyclable, reusable or biodegradable.

           185.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Sections IV E-G above.

  O.       Danimer’s March 30, 2021 Annual Report on Form 10-K

           186.     On March 30, 2021, Danimer filed the 2020 Annual Report, which was signed by

  Defendants Croskrey, Dowdy, Amboian, Hendrix, Basco, Calhoun, Hunt, Noda and Pratt, and

  repeated many of the false or misleading statements above and omitted the material information

  stated above.

           187.     The 2020 Annual Report included the same warnings of potential material

  weakness or significant deficiency in internal control as alleged above, and SOX Certifications

  that were signed by Defendants Croskrey and Dowdy that represented the following:

                  1. I have reviewed this Annual Report on Form 10-K of
                  Danimer Scientific, Inc.;

                  2. Based on my knowledge, this report does not contain any
                  untrue statement of a material fact or omit to state a material fact



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                 necessary to make the statements made, in light of the
                 circumstances under which such statements were made, not
                 misleading with respect to the period covered by this report;

                 3. Based on my knowledge, the financial statements, and other
                 financial information included in this report, fairly present in all
                 material respects the financial condition, results of operations
                 and cash flows of the registrant as of, and for, the periods
                 presented in this report;

                 4. The registrant’s other certifying officer and I are responsible
                 for establishing and maintaining disclosure controls and
                 procedures (as defined in Exchange Act Rules 13a-15(e) and
                 15d-15(e)) and internal control over financial reporting (as
                 defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the
                 registrant and have:

                         (a) Designed such disclosure controls and procedures, or
                         caused such disclosure controls and procedures to be
                         designed under our supervision, to ensure that material
                         information relating to the registrant, including its
                         consolidated subsidiaries, is made known to us by others
                         within those entities, particularly during the period in
                         which this report is being prepared;

                         (b) Designed such internal control over financial reporting,
                         or caused such internal control over financial reporting to
                         be designed under our supervision, to provide reasonable
                         assurance regarding the reliability of financial reporting
                         and the preparation of financial statements for external
                         purposes in accordance with generally accepted accounting
                         principles;

                         (c) Evaluated the effectiveness of the registrant’s
                         disclosure controls and procedures and presented in this
                         report our conclusions about the effectiveness of the
                         disclosure controls and procedures, as of the end of the
                         period covered by this report based on such evaluation; and

                         (d) Disclosed in this report any change in the registrant’s
                         internal control over financial reporting that occurred
                         during the registrant’s most recent fiscal quarter (the
                         registrant’s fourth fiscal quarter in the case of an annual
                         report) that has materially affected, or is reasonably likely
                         to materially affect, the registrant’s internal control over
                         financial reporting; and




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                  5. The registrant’s other certifying officer(s) and I have
                  disclosed, based on our most recent evaluation of internal
                  control over financial reporting, to the registrant’s auditors and
                  the audit committee of the registrant’s board of directors (or
                  persons performing the equivalent functions):

                         (a) All significant deficiencies and material weaknesses
                         in the design or operation of internal control over
                         financial reporting which are reasonably likely to
                         adversely affect the registrant’s ability to record, process,
                         summarize, and report financial information; and

                         (b) Any fraud, whether or not material, that involves
                         management or other employees who have a significant
                         role in the registrant’s internal control over financial
                         reporting.

           188.     The foregoing statements were materially false or misleading and/or failed to

  disclose material facts necessary to make the statements made, in light of the circumstances under

  which they were made, not misleading, for the reasons identified in Section IV I above.

                                VI.     THE TRUTH BEGINS TO EMERGE

  A.       The Wall Street Journal Report

           189.     On March 20, 2021, The Wall Street Journal published an article entitled: “Plastic

  Straws That Quickly Biodegrade in the Ocean? Not Quite, Scientists Say” The article provided, in

  relevant part:

                    Imagine you’re walking along a beach sipping a cool lemonade.
                    When you finish, there’s no trash can in sight, so you leave your
                    plastic cup and straw on the shore, assured that if washed away
                    they’ll quickly disappear.

                    That’s the image touted by a growing number of companies using
                    Nodax—a plant- based plastic—to make straws, bottles and bags
                    that they claim can biodegrade in oceans within a few months.

                    Nodax’s owner, Danimer Scientific Inc., counts Nestlé SA and
                    Bacardi Ltd. among its customers and PepsiCo Inc. as an investor.




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                    Nodax breaks down far more quickly than fossil-fuel plastics, which
                    can last for hundreds of years. But many claims about Nodax are
                    exaggerated and misleading, according to several experts on
                    biodegradable plastics. They say more testing and stricter
                    regulations are needed, and warn that marketing products as marine
                    biodegradable could encourage littering. Biodegradable straws,
                    bottles and bags can persist in the ocean for several years, they say.

                    “The claims are what I would call sensationalized,” Jason Locklin,
                    a University of Georgia professor, said of Danimer’s Nodax
                    marketing. Mr. Locklin directs the university’s New Materials
                    Institute and co-authored a study cited by Danimer as validating its
                    material.

                    Until now, Danimer says. Its chief executive, Steven Croskrey, has
                    described Nodax as “the holy grail of plastic,” highlighting that the
                    material has been certified by TUV Austria—a leading international
                    certification body whose logo is found on items like compostable
                    food waste bags—as able to biodegrade in seawater. Danimer’s
                    share price has more than doubled since it went public through a
                    deal with a so-called blank-check company in late December.

                    Nodax is the brand name of a resin that belongs to a family of
                    plastics known as PHAs. It is made by feeding canola oil to bacteria,
                    from which carbon is extracted and turned into plastic. Unlike
                    conventional plastics, Nodax is consumed by microorganisms when
                    thrown away, Danimer says.

                    Mr. Locklin’s study—described in marketing material by Danimer
                    and its customers as verifying Nodax as “a truly biodegradable
                    alternative to petrochemical plastics”—showed that Nodax in
                    powdered form breaks down quickly, but that the rate is much more
                    variable when tested as a film, the form used to make bags, straws
                    and bottles.

                    Making broad claims about Nodax’s biodegradability “is not
                    accurate,” said Mr. Locklin, adding: “I think that’s greenwashing.”

                                              *       *       *

                    Nodax doesn’t have any certification indicating it biodegrades in
                    landfills. However, Mr. Croskrey on an investor call in October said
                    the product would be consumed by bacteria if it ended up in a
                    landfill. Responding to questions from The Wall Street Journal, Mr.
                    Van Trump said the claim by the Danimer chief wasn’t wholly
                    accurate, saying Nodax products are unlikely to biodegrade in most
                    modern landfills.




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                    Few laws exist to address claims about biodegradability. California
                    bans the sale of plastic products that use the terms “biodegradable”
                    or “degradable,” saying such claims can be misleading. Last year
                    the state passed a separate law barring products from using the term
                    “marine degradable.”

                    Making claims about soil biodegradability—as Bacardi and
                    Columbia do—is tricky, too, since products need to be fully buried
                    in soil rather than simply littered to break down entirely, Mr.
                    Narayan said.

                    “Everything biodegrades at some point,” including fossil-fuel
                    plastics, he said. “The question is how soon.”

           190.     The Wall Street Journal article also cited a Michigan State University professor

  with over 30 years’ experience researching biodegradable plastics, who noted that “variations in

  temperature and microorganisms in the ocean make it very difficult to promise a bottle made

  from Nodax will biodegrade in 18 months.” According to the same expert, even though Danimer

  lauds Nodax® as being certified by TUV Austria, an international certification body for

  compostable items, “[t]he marine biodegradability test used to gain certification from TUV is

  conducted in a lab using seawater at a temperature of 30 degrees Celsius (86 Fahrenheit),” whereas

  “the average ocean temperature is 4 degrees Celsius (39.2 Fahrenheit), which means items could

  degrade more slowly in real life.” The same expert noted that “[a]t some ocean temperatures,

  Nodax straws could take between five and 10 years to biodegrade,” whereas “[b]ags and bottles

  could take even longer.”

           191.     On this news, Danimer’s stock price fell $6.43 per share, or approximately 13%, to

  close at $43.55 on March 22, 2021. Shares continued to plummet, falling to a March 30, 2021

  close of just $34.15 per share.




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  B.        Spruce Point Reports61

            192.    Analyst Spruce Point Capital Management issued the April 22 Report about

  Danimer, writing that Danimer represented “Another Go Around at Plastic Alternatives with

  Several Corporate Governance Red Flags: 65%-100% Downside Risk.” In this report, Spruce

  Point revealed for the first time material background facts about the past and current CEOs, the

  CTO and current Danimer executives and Directors. Spruce Point continued: “[w]e question the

  independence of Danimer’s scientific research as Danimer has been a financial backer of the

  University of Georgia Lab and several professors who authored the supporting research… . We

  also believe Danimer has concealed, through numerous website changes and omission of past press

  releases, a pattern of conflicting and irreconcilable statements on capacity, facility size, and capex

  costs … .”

            193.    The April 22 Report revealed that the “[c]urrent Danimer CEO [Defendant]

  Stephen Croskrey, previously President of Armor Holdings Product Division … was directly

  involved in a potential cover up of defective body armor.” Spruce Point continued that “[e]vidence

  in a DOJ case against Honeywell shows Croskrey was aware of the defect and threatened a supplier

  that they should ‘stick together’ to ‘overcome the threat’ or else he would have no choice but to

  issue a release blaming the supplier for the defect.”

            194.    The April 22 Report also raised the March 20, 2021 Wall Street Journal article,

  writing: “[h]ow can investors trust management when Danimer’s CTO is challenging the CEO’s

  claims? ‘Mr. Van Trump said the claim by the Danimer chief wasn’t wholly accurate, saying

  Nodax products are unlikely to biodegrade in most modern landfills.’ Red Flag: Danimer’s



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        The Spruce Point Reports date April 22, May 4 and May 21, 2022 are incorporated by
  reference in this Complaint.



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  scientific support and rebuttal to the WSJ article is based on research conducted by University of

  Georgia professors who have received financial backing from Danimer and have had their students

  hired by the Company.”

           195.     The April 22 Report continued: “Danimer’s story continues to change. We have

  found multiple inconsistent descriptions of the size of its facility, production capacity, and costs

  that differ from other Company statement or government documents.” The April 22 Report also

  noted that “[o]n Danimer’s Q4 2020 earnings call, Croskrey and Dowdy have walked back recently

  issued expectations. ‘In the near term, I would expect less profitability at the bottom line than what

  was previously disclosed.’ … Phase II expansion: ‘now expected to be completed in the second

  quarter of 2022 compared to our initial assumption of late 2021.’” (Emphasis omitted).

           196.     Moreover, The April 22 Report highlighted that “Pepsi likely sold its stake in

  Danimer as the Company’s recent presentation no longer lists Pepsi as a shareholder. Based on

  Pepsi’s 10-Q filed in April 2021, they disclosed ‘these equity securities were subsequently sold in

  the second quarter of 2021.’ … . Shortly after the WSJ released its article challenging Danimer’s

  claims, the Company removed statements claiming ‘derived from 100% renewable source’ and

  ‘fully degradable in 12-18 weeks after the product is discarded’ from its investor presentation.” In

  sum, “Spruce Point believes Danimer’s current share price is unsustainable, and a result of hype

  around ESG businesses and unrealistic financial assumptions.”

           197.     On this news, Danimer’s stock price fell from its April 21, 2021 close of $25.00

  per share to an April 22, 2021 close of $22.99 per share, representing a one-day drop of $2.01 per

  share, or approximately 8%.




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           198.     A few days after the Spruce Point report, on April 26, 2021, analyst Jefferies

  lowered Danimer’s price target to $42, down from a previous high of $66.62

           199.     Spruce Point issued the May 4 Report as a follow up report to its April 22 Report,

  writing “insights from Danimer FOIA show smoking gun evidence of pricing inflation and

  slackness in capacity.” The May 4 Report continued that “with the benefit of a recently released

  [FOIA] request from the Kentucky Department of Environmental Protection, we have evidence

  that suggests Danimer’s production figures, its pricing, and rosy financial projections are wildly

  overstated. Monthly Kentucky PHA production figures have been restated by up to 100% after

  coming public. Danimer’s PHA average selling price appears to be 30% - 42% below

  management’s claims. Moreover, Danimer’s recently reported production figures are so far below

  their actual capacity, that it calls into question why Danimer is telling investors it needs hundreds

  of millions of dollars in capacity expansion?

           200.     The May 4 Report alleged that “Danimer’s SEC disclosures on revenue drivers are

  insufficient in our view. As a manufacturer of essentially two products in two locations, Danimer

  fails to provide clear and transparent information on the following to investors: Production by

  location; Total volumes sold of PHA and PLA; Average sales price of PHA and PLA.” According

  to the May 4 Report, “[n]ewly released FOIA provides actual biopolymer production figures by

  location. We find that Danimer’s monthly PHA biopolymer production and natural gas usage for

  its Kentucky facility have been materially misreported, in some months by 100%. By law, Danimer

  must provide semi-annual and annual production figures in Kentucky. In its 2020 annual filing,

  signed in January 2021 after closing its SPAC deal on the NYSE in December 2020, we observe



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        Jefferies: “A Lower Bar For The Q1 Call. Simple Steps Likely Suffice For A Double”, April
  26, 2021.



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  it reported material errors that overstated Kentucky’s figures in some months by up to 100% by

  including Georgia’s production. We are able to extrapolate Georgia’s monthly production in H1

  2020 and find mathematically impossible results, implying negative monthly production in April

  and June 2020. What’s clear is that Georgia’s production was trending negative in H1 2020.

  Warning: The compliance reports are produced by an independent environmental consultant. We

  find the reports have been signed off on by three different Danimer employees. The ‘corrected’

  filing was signed by CTO Phil Van Trump, after previously being signed by Plant Manager Kevin

  Walsh … and David Mazzei … . Why hasn’t the CFO or COO signed off on these figures? There

  are legal implications, including potential imprisonment, for filing false information.”

           201.     The May 4 Report continued: “[n]ow with certified production figures from

  Danimer, we estimate PHA Average Selling Prices (ASPs) are overstated by 30% - 42%.

  Danimer’s October 2020 Investor Presentation implied PHA ASPs of $3.00/lb. and the CEO

  alluded to pricing in the $2.50-$2.70 range on the year end conference call in March 2021.

  However, based on Danimer’s 2.5m lbs. of certified actual production, and $4.4 of reported PHA

  sales, we estimate PHA ASPs were closer to $1.74/lb, or 30% - 42% lower than discussed by

  management. Danimer’s Investor Presentation said it was in a ‘Fully Sold-Out’ position. Even if

  we assume a one-month lag between production and shipment, ASP would still be $2.01/lb or 20%

  - 33% below management’s claims… . We believe Danimer is set to vastly disappoint investors

  and suffer severe price target cuts.”

           202.     In a slide titled “Notable Omissions From Recent SEC Filings,” the May 4 Report

  stated: “Actual production implied from Danimer’s reported monthly numbers is so far below

  stated capacity that it severely calls into question why it is telling investors it needs more capacity?

  … If Danimer’s business were booming to the degree it suggests exists through ‘Fully Sold-Out’




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  customer demand, why isn’t it operating at full capacity with its existing manufacturing base

  before adding more capacity”

           203.     On this news, Danimer’s shares further plummeted, falling from its May 3, 2021

  close of $23.63 per share to a May 4, 2021 close of $22.14, representing a one-day drop of $1.49

  per share, or approximately 6.3%.

           204.     On April 25, 2021, following the Spruce Point allegations, analyst Jeffries further

  downgraded its price target of Danimer stock.

  C.       Muddy Waters Corroborates Spruce Point and Goes Beyond

  1.       Muddy Waters’ History of Accurately Uncovering Fraud

           205.     Muddy Waters is an American privately-held due-diligence-based investment firm,

  owned by Carson Block that conducts investigative research on public companies while also taking

  publicly disclosed short positions that reflect their research. The firm has exposed accounting

  problems and fraud at several companies, primarily in China but also in other countries in Asia,

  Europe and North America. Muddy Waters’ founder Carson Block appears frequently as a

  commentator on Bloomberg Television, CNBC and the BBC. He has written op-eds in The Wall

  Street Journal, Financial Times, and The New York Times on various topics related to improving

  corporate governance and market transparency. Unlike other short sellers, such as those who

  anonymously post on crowd sourced online resources, such as SeekingAlpha.com, Muddy Waters

  and Carson Block publish their analyses in their name.

           206.     Muddy Waters was first known for spotting fraud at Sino-Forest Corp, a Canadian-

  listed Chinese company. In 2011 Muddy Waters published a research report on the company,

  which was then accused of fraud by the Royal Canadian Mounted Police and the Ontario Securities

  Commission. On August 15, 2011, Sino-Forest announced that the results of a PwC probe into the

  allegations would be delayed to the end of the year due to difficulties in gathering data from the



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  Chinese companies involved. On March 30, 2012, Sino-Forest filed for bankruptcy protection in

  Canada and its auditors resigned. In 2015, the firm’s auditors Ernst and Young, a group of financial

  institutions and former Sino-Forest chief executive David Horsley paid $117 million, $32.5 million

  and $5.6 million respectively to settle investor’s lawsuits. On July 13, 2017, the OSC released its

  decision finding that “Sino-Forest, Chan, Ip, Hung and Ho engaged in deceitful or dishonest

  conduct related to Sino-Forest’s standing timber assets and revenue they knew constituted fraud.”

  The OSC also found that the individual respondents violated Ontario securities law by misleading

  commission staff during the investigation.

           207.     In October 2013, Muddy Waters published a research report that NQ Mobile had

  “fictitious” customers and revenues. In April 2015, the securities fraud suit settled for $5.1 million

  and the CEO stepped down after the stock had fallen nearly 84 percent. A Court Receiver was

  appointed over the company in February 2019 in the United States in the federal district court in

  the Southern District of New York by Judge Victor Marrero.

           208.     In August 2016, Muddy Waters released a report claiming that pacemakers and

  other implantable medical devices made by St. Jude Medical were highly vulnerable to hacking.

  St. Jude Medical denied the claims made by Muddy Waters, stating that they were “false and

  misleading” and sued the firm for defamation. In January 2017, the U.S. Food & Drug

  Administration and the Department of Homeland Security released the results of an investigation

  into St. Jude’s cybersecurity vulnerabilities, which confirmed the findings of Muddy Waters.

           209.     On June 29, 2017, Muddy Waters opened research into Prothena Corp. PLC, a

  biotech company whose leading product the short seller claimed was commercially unviable. In

  2019, the ensuing securities fraud class action was settled for $15,759,000.




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            210.    In January 2020, Muddy Waters warned that Luckin Coffee, what they termed a

  “fundamentally broken business”, fabricated its sales and expenses while management cashed out

  on the stock. Shortly thereafter, on April 2, the Luckin Coffee Company admitted that its COO

  and subordinates significantly fabricated corporate metrics, sending the stock down over 70%.

  Later, Luckin Coffee reached a settlement with the SEC, agreeing to pay a $180 million penalty

  for accounting fraud. In February Luckin filed for Chapter 15 protections and for recognition of

  its international bankruptcy.

            211.    One of Lead Counsel here, Hagens Berman, has had direct experience investigating

  and litigating cases based on Muddy Waters’ reports. Based on one of Muddy Watters’s reports,

  Hagens Berman litigated a securities fraud suit against China Media Express, which was delisted.

  Hagens Berman settled for millions against the accountants and lawyers and obtained a $535

  million default judgment against China Media Express. A court also entered a default judgement

  for the SEC and a permanent injunction against China Media and its founder.

  2.        The September 15, 2021 Muddy Waters Report Reveals Unrebutted Inconsistency
            in Danimer’s Production Capacity and Customer Relationships63

            212.    On September 15, 2021, Muddy Waters issued a report significantly corroborating

  the Spruce Point findings and going beyond. In its report, Muddy Waters found, among other

  things, that Defendants “significantly misrepresented the state of its customer relationships,

  demand, product development, readiness to scale, and TAM for PHAs.”:

                    Because it’s nearly impossible to effectively evaluate early stage
                    tech, we look for behaviors that indicate a company is not “real” and
                    likely won’t be. One example would be a company rolling a truck
                    down a hill, or a company claiming that it has numerous “binding”
                    commitments when in reality, there are very few.


       63
      The Muddy Wates Reports of September 12, 2021 is incorporated by reference in this
  Complaint.



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                    DNMR gives us a lot of these flags. In our view, DNMR has misled
                    investors about having over $200 million of “take or pay”
                    agreements. We feel it has misled investors by stating that its only
                    impediment to selling more product is lack of capacity when the
                    products it hopes to sell do not yet exist. It expressly claimed that
                    it can sell everything it produces, but in actuality the demand
                    for its products appears to be quite weak. DNMR has announced
                    four iterations of its capacity expansion plan in eight months, which
                    indicates that it is likely to waste significant time and money trying
                    to scale. Yet, DNMR’s purchase of Novomer seems to be a tacit
                    admission that its fermentation might not scale.64 In 2015,
                    DNMR claimed that Bainbridge had 60 million pounds per year of
                    capacity; but, today it’s supposedly just a demonstration plant.
                    DNMR has tried to mislead investors into believing that bag
                    developed with PepsiCo is PHA when it is really PLA based.

           213.     In discussing production and demand the report states:

                    What DNMR can produce seems to have limited demand, which is
                    in stark contrast to CEO Stephen Croskrey’s pronouncement that
                    DNMR can sell all the PHA it produces and the company’s claim
                    that it is “fully sold-out of [2022E] Kentucky capacity from
                    overwhelming customer demand”65. Instead, DNMR seems unable
                    to make PHA for the products for which there seems to be a
                    significant potential market. DNMR has likely not produced
                    PHA for products sold to end users, other than straws and
                    possibly plastic shopping bags.

                    Supporting our conclusion that demand for DNMR’s existing
                    products seems quite weak are DNMR’s apparent significant (but
                    below the radar) PHA production misses in each of Q1 and Q2
                    this year. Using company favorable assumptions, we estimate that
                    DNMR has been operating at only approximately 28% of capacity,
                    rather than the expected 50%. Less company favorable, but still
                    reasonable, assumptions yield estimates as low as 18% of




      64
       This is consistent with CW statements of limited production capacity and issues in
  producing PHA, in both the upstreaming and downstreaming process, as well as the need to
  dump large quantities of product.
      65
        This is consistent with CW3’s statements that Danimer stockpiled product in offsite
  storage warehouses, and when that got crowded the product was moved to another offsite
  location in Georgia, as well as CW2’s statement that inventory just sat and collected dust.



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                    capacity.66 Moreover, DNMR’s slow-turning inventory (~3x)
                    consistently shows zero to de minimis amounts of work in process
                    while having material balances of both raw materials and
                    finished goods, which we think shows that there is not much
                    demand for what DNMR is capable of producing. A subset of this
                    concern is that DNMR could be producing significant amounts of
                    non-salable product due to production issues.

                    …

                    DNMR has greatly misled investors about its partnerships. When
                    DNMR went public, Mr. Croskrey said on CNBC that the company
                    was “sitting on over $200 million of take or pay off take agreements,
                    and we had customers like PepsiCo, Nestlé, Bacardi, you know,
                    expecting us to be able to grow our capacity, so we had to find a way
                    to find a lot of cash fast.” We believe that the products DNMR hopes
                    to produce for these partners are in the very early stages of
                    development, and that production capacity was not even close to
                    being an issue for these products. These purported “take or pay”
                    agreements reportedly have outs for the customers if DNMR has
                    been unable to develop product that meets customer requirements.
                    Moreover, we understand that the PepsiCo take or pay was for
                    pilot plant scale, and that DNMR likely has not finalized a
                    commercial-scale agreement with PepsiCo.67 We also understand
                    that Mars Wrigley will likely not be using in scale a DNMR plastics
                    wrapper before 2025 – if ever; and, that PepsiCo is probably many
                    years away (if ever) from any sizable PHA compound purchases
                    from DNMR.

           214.     On this news, Danimer’s shares further plummeted, falling from a close on

  September 14, 2021 of $17.24 per share to close on September 15, 2021 at $14.73 per share, a

  decline of $2.51 per share, or approximately 14.5% on heavier than usual volume.




      66
         This number is consistent with CW4’s estimation that at best the Winchester Plant could
  produce 400,000 pounds of PHA if running all three fermenters on 5 shifts per month, whereas
  the claim of 20 million pounds per year would yield 1.6 million pounds per month of PHA.
      67
       This is consistent with CW1 stating that PHA for Pepsis and Nestlé were only for testing
  purposes.



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  3.        Defendant’s Rebuttal to the Muddy Waters Report Ignores Most of the Report and
            for the First Time Admits its Nameplate Production Capacity and Expansion in
            Half the Amount Stated

            215.    On September 17, 2021, Danimer issued a 5-page press release entitled “Danimer

  Scientific Comments on Misleading Muddy Waters Report” in response to the Report (the

  “Response”). The Response does not rebut the detailed findings of the Report and fails to address

  the Report’s findings on a point-by-point basis. Rather, the Response makes general statements

  and conclusions in an attempt to undermine the Report’s credibility. The Response is also an

  attempt by Danimer to continue to promote its bioplastics business.

            216.     Specifically, Danimer’s response does not attempt to rebut Muddy Waters’

  findings that there is only limited demand for Danimer’s PHA product for use in straws.68

            217.    Danimer’s response does not attempt to rebut Muddy Waters’ findings that the

  customer relationships are merely developmental and have not reached the stage of

  commercialization.69




       68
         Muddy Waters was only able to find straws and shopping bags made with Danimer’s PHA
  available for sale. Id. There was no evidence of other PHA-based products produced by Danimer
  such as “single-serving coffee pods, water bottles, plastic caps, snack foods packaging, clam
  shell containers, f&b utensils, diapers, etc.” Id. at 5-6. Muddy Waters conducted a web search for
  PHA-based product offerings for Danimer’s announced customers (WinCup phade, UrthPact,
  CPG Biolo, and Eagle Beverage) but only found that these companies only offered PHA-based
  straws; only one customer company, CPG, offered single use PHA-based bags and films.
       69
        Instead, the Response states the general proposition that “Global consumer brands are
  actively seeking compostable and biodegradable alternatives to their traditional plastic
  products[.]” Id. The Response then goes on to state that its customer partnerships “including
  PepsiCo, Mars Wrigley, Bacardi, Nestle, WinCup, Eagle Beverages, Columbia Packaging Group
  [(CPG)] and UrthPact are currently working with Danimer to produce biodegradable and
  compostable alternatives to plastic products.” Id. No details are provided on what “biodegradable
  and compostable alternatives to plastic products” are being worked on with these alleged
  customers and/or whether these products are actually being offered.



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           218.     Danimer’s response does not attempt to rebut Muddy Waters’ findings that

  Danimer’s production capacity is much less than stated or, alternatively, demand is weak.70

           219.     Finally, Danimer admits that it’s nameplate production capacity of PHA is actually

  half that represented and for the first time disclosing its anemic production of PHA:

                    The Company discusses production volumes in terms of finished
                    pounds, rather than neat PHA (a.k.a. “Nodax®”), because finished
                    product is what is sold to customers. Prior to considering the
                    integration of Rinnovo™ in its formulations, Danimer has stated
                    that finished capacity at its Kentucky Phase I facility is 20 million
                    finished pounds per year, which means that the Kentucky Phase I
                    facility’s capacity is 10 million pounds of Nodax®.

                    The Company has previously noted that, on average, Nodax®
                    comprises approximately 50% of the formulation for finished
                    product. Through repetition and continuous improvement, Danimer
                    is scaling its production capacity and will continue to manufacture
                    as much Nodax® as possible. Because the Muddy Waters analysis
                    conflates these figures, below are the correct figures for Danimer’s
                    Kentucky Phase I facility:

                        In Q1 2021, Danimer produced approximately 1.4 million
                         pounds of Nodax®, which equates to approximately 55%
                         capacity utilization for the three-month period.



      70
         Muddy Watters estimated that Danimer “utilized only approximately 18% to 28% of its
  PHA production capacity in Q1 and Q2, depending on the percent of neat PHA in the finished
  products as well as how much PHA production ended up in inventory. [Additionally, t]he
  consistent zero to de minimis value of work-in progress inventory, compared to material amounts
  of finished goods and raw materials, also indicates that the demand for DNMR’s products is
  weak.” Report at 5. In other words, production capacity for PHA-based products was low (at
  most 28%), the level of production for work-in progress inventory was low, and there were
  “material amounts” of finished goods and raw materials. The inference from this is that large
  amounts of inventory were sitting, production was minimal, and customer orders were lacking.
  See also Report at page 6. Muddy Waters states that “the apparent low production volume and
  persistently high finished goods inventory is due to weak demand for DNMR’s PHA
  compounds…. Our interpretation is that DNMR’s sub-scale production of PHA compounds
  consistently outstrips demand, as there is a significant, persistent finished product balance and
  essentially no work in process. One subset of this concern is the possibility that DNMR is
  producing significant amounts of non-salable product.” Id.




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                        In Q2 2021, during which time Danimer completed the
                         debottlenecking of its facility, the Company produced
                         approximately 1.2 million pounds of Nodax®, which equates to
                         approximately 47% capacity utilization for the three-month
                         period.

                        In July 2021, Danimer produced approximately 0.6 million
                         pounds of Nodax®, which equates to approximately 69%
                         capacity utilization for the one-month period.

                    As previously detailed and prior to considering the integration of
                    Rinnovo™ in the Company’s formulations, Phase II construction in
                    Kentucky is underway with production expected to commence in Q2
                    2022, adding an expected 45 million pounds of finished product (or
                    approximately 22.5 million pounds of Nodax®) to annual nameplate
                    PHA capacity.

                               VII.    CLASS ACTION ALLEGATIONS

           220.     Plaintiffs brings this action as a class action pursuant to Rule 23 of the Federal

  Rules of Civil Procedure. The members of the Class are so numerous that joinder of all members

  is impracticable. The disposition of their claims in a class action will provide substantial benefits

  to the parties and the Court. While the exact number of Class members is unknown to Plaintiffs at

  this time and can only be ascertained through appropriate discovery, Plaintiffs believe that there

  are at least hundreds or thousands of members in the proposed Class. Millions of shares of Danimer

  stock were publicly traded during the Class Period on the NYSE. Record owners and other

  members of the Class may be identified from records maintained by Danimer or its transfer agent

  and may be notified of the pendency of this action by mail, using the form of notice similar to that

  customarily used in securities class actions.

           221.     There is a well-defined community of interest in the questions of law and fact

  involved in this case. Questions of law and fact common to the members of the Class which

  predominate over questions which may affect individual Class members include:

                a. Whether Defendants violated the Exchange Act and Securities Act;




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                b. Whether Defendants omitted and/or misrepresented material facts;

                c. Whether Defendants’ statements omitted material facts necessary to make the

                    statements made, in light of the circumstances under which they were made, not

                    misleading;

                d. Whether Defendants acted with the requisite state of mind;

                e. Whether the price of the Company’s stock was artificially inflated; and

                f. The extent of damage sustained by Class members and the appropriate measure of

                    damages.

           222.     Plaintiffs’ claims are typical of those of the Class because Plaintiffs and the Class

  sustained damages from Defendants’ wrongful conduct alleged herein.

           223.     Plaintiffs will adequately protect the interests of the Class and has retained counsel

  who are experienced in class action securities litigation. Plaintiffs have no interests that conflict

  with those of the Class.

           224.     A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy.

                                   VIII. FRAUD ON THE MARKET

           225.     Plaintiffs will rely upon the presumption of reliance established by the fraud-on-

  the-market doctrine that, among other things:

                a. Defendants made public misrepresentations or failed to disclose material facts

                    during the Class Period;

                b. The omissions and misrepresentations were material;

                c. The Company’s securities traded in an efficient market;

                d. The misrepresentations alleged herein would tend to induce a reasonable investor

                    to misjudge the value of the Company’s securities; and



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                e. Plaintiff and other members of the class purchased the Company’s securities

                    between the time Defendants misrepresented or failed to disclose material facts and

                    the time that the true facts were disclosed, without knowledge of the

                    misrepresented or omitted facts.

           226.     At all relevant times, the markets for the Company’s stock were efficient for the

  following reasons, among others: (i) the Company filed periodic public reports with the SEC; and

  (ii) the Company regularly communicated with public investors via established market

  communication mechanisms, including through regular disseminations of press releases on the

  major news wire services and through other wide-ranging public disclosures such as

  communications with the financial press, securities analysts, and other similar reporting services.

  Plaintiff and the Class relied on the price of the Company’s securities, which reflected all

  information in the market, including the misstatements by Defendants.

                                      IX.     NO SAFE HARBOR

           227.     The statutory safe harbor provided for forward-looking statements under certain

  conditions does not apply to any of the allegedly false statements pleaded in this Complaint. The

  specific statements pleaded herein were not identified as forward-looking statements when made.

           228.     To the extent there were any forward-looking statements, there were no meaningful

  cautionary statements identifying important factors that could cause actual results to differ

  materially from those in the purportedly forward-looking statements.

                         X.      ADDITIONAL SCIENTER ALLEGATIONS

           229.     This Section only relates to claims based on fraud allegations and is not

  incorporated into the non-fraud claims. Based on both the facts alleged above and in this section,

  Defendants Croskrey, Hendrix and Dowdy acted with scienter in that each of these Defendants

  knew, or recklessly disregarded, or were negligent in not knowing that the public documents and



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  statements issued or disseminated in the name of the Company were materially false and

  misleading or omitted material information. The subject matter was core information that was or

  should have been known to executives in their position and indeed, would have or should have

  been learned in the De-SPAC due diligence processes Defendants represented they undertook.

           230.     In addition, Defendants were motivated either by the need for Danimer to have

  money to finance production facilities than would allow the Company to go forward, and/or the

  need of Live Oak to find an acquisition or return the money Defendants had raised.

           231.     Moreover, Defendants were motivated to mislead investors and inflate the price of

  Danimer securities in order to reap the benefits from the sale of Danimer warrants. At the time of

  the closing of the De-SPAC, there were 10,000,000 outstanding publicly traded warrants to

  purchase shares of Danimer common stock with an exercise price of $11.50 per share (“Public

  Warrants”). The Public Warrants were exercisable and potentially redeemable after May 7,

  2021. Defendants Croskrey, Hendrix and Dowdy could redeem the Public Warrants at a price of

  $0.01 per warrant upon a minimum of 30 days’ prior written notice of redemption, if and only if

  the last sale price of Danimer’s common stock equaled or exceeded $18.00 per share for any 20-

  trading days within a 30-trading day period ended three business days before we sent the notice of

  redemption to the warrant holders.

           232.     As a result of Defendants Croskrey, Hendrix and Dowdy’s wrongful conduct that

  inflated the price of Danimer’s common stock, this requirement was met and on May 14, 2021,

  Defendants Croskrey, Hendrix and Dowdy notified holders of the Public Warrants of their intent

  to redeem them on June 16, 2021. As a result, 12,033,169 Public Warrants, including some Public

  Warrants that had initially been Private Warrants, were exercised and 50,965 Public Warrants were




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  redeemed. Net of fees, Danimer collected $138.2 million in connection with the exercises and

  redemptions.

                                      XI.    LOSS CAUSATION

           233.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

  deceive the market and a course of conduct that artificially inflated the prices of Danimer securities

  and operated as a fraud or deceit on purchasers of Danimer securities. As detailed above, when the

  truth about Defendants’ misconduct began to be revealed, the value of the Company’s securities

  declined precipitously as the prior artificial inflation no longer inflated the stock’s prices. The

  decline in the price of Danimer securities were the direct result of the nature and extent of

  Defendants’ fraud finally being revealed to investors and the market. The timing and magnitude

  of the share price declines negate any inference that the losses suffered by Plaintiffs and other

  members of the Class were caused by changed market conditions, macroeconomic or industry

  factors, or Company specific facts unrelated to the Defendants’ fraudulent conduct. The economic

  loss, i.e., damages, suffered by Plaintiffs and other Class members, was a direct result of

  Defendants’ fraudulent scheme to artificially inflate the prices of the Company’s securities and the

  subsequent significant decline in the value of the Company’s stock when Defendants’ prior

  misrepresentations and other fraudulent conduct were revealed.

           234.     At all relevant times, Defendants’ materially false and misleading statements or

  omissions alleged herein directly or proximately caused the damages suffered by the Plaintiffs and

  other Class members. Those statements were materially false and misleading as alleged herein.

  Throughout the Class Period, Defendants issued materially false and misleading statements and

  omitted material facts necessary to make Defendants’ statements not false or misleading, causing

  the prices of Danimer securities to be artificially inflated. Plaintiffs and other Class members

  purchased Danimer securities at those artificially inflated prices, causing them to suffer damages.



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           235.     The following revelations contradicted statements and/or revealed omissions made

  by Defendants during the Class Period and were a causal element of the concurrent decline in the

  price of the Company’s securities.

           236.     On March 20, 2021, The Wall Street Journal published an article concerning

  Danimer as alleged herein. On this news, Danimer’s stock price fell $6.43 per share, or

  approximately 13%, to close at $43.55 on March 22, 2021.

           237.     On April 22, 2021, analyst Spruce Point Capital Management issued its report as

  alleged herein. On this news, Danimer’s stock price fell from its April 21, 2021 close of $25.00

  per share to an April 22, 2021 close of $22.99 per share, representing a one-day drop of $2.01 per

  share, or approximately 8%.

           238.     On May 4, 2021, Spruce Point issued a follow up report as alleged herein. On this

  news, Danimer’s shares further plummeted, falling from its May 3, 2021 close of $23.63 per share

  to a May 4, 2021 close of $22.14, representing a one-day drop of $1.49 per share, or approximately

  6.3%.

           239.     On September 15, 2021, Muddy Waters issued a report significantly corroborating

  the Spruce Point findings and going beyond.

           240.     On this news, Danimer’s shares further plummeted, falling from a close on

  September 14, 2021 of $17.24 per share to close on September 15, 2021 of $14.73 per share, a

  decline of $2.51 per share, or approximately 14.5%, on heavier than usual volume.

                                               COUNT ONE

          VIOLATIONS OF § 10(B) OF THE EXCHANGE ACT AND RULE 10B-5
                        PROMULGATED THEREUNDER
       (AGAINST DEFENDANTS DANIMER, CROSKREY, HENDRIX, AND DOWDY)

           241.     Plaintiffs repeat and re-allege each and every allegation contained above as if fully

  set forth herein.



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           242.     During the Class Period, Defendants named in this Count disseminated or approved

  the false statements specified above, which they knew or deliberately disregarded were misleading

  in that they contained misrepresentations and failed to disclose material facts necessary to make

  the statements made, in light of the circumstances under which they were made, not misleading.

           243.     Defendants named in this Count violated § 10(b) of the Exchange Act and Rule

  10b-5 in that they (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

  statements of material fact and/or omitted to state material facts necessary to make the statements

  not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

  fraud and deceit upon those who purchased or otherwise acquired the Company’s securities during

  the class period.

           244.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

  the market, they paid artificially inflated prices for the Company’s securities. Plaintiff and the

  Class would not have purchased the Company’s securities at the price paid, or at all, if they had

  been aware that the market prices had been artificially and falsely inflated by Defendants’

  misleading statements.

                                              COUNT TWO

   VIOLATIONS OF § 20(A) OF THE EXCHANGE ACT IN CONNECTION WITH THE
           § 10(B) OF THE EXCHANGE ACT AND RULE 10B-5 CLAIMS
         (AGAINST DEFENDANTS CROSKREY, HENDRIX, AND DOWDY)

           245.     Plaintiffs repeat and re-allege each and every allegation contained above as if fully

  set forth herein.

           246.     Defendants Croskrey, Hendrix and Dowdy acted as controlling persons of the

  Company within the meaning of § 20(a) of the Exchange Act as alleged herein. By virtue of their

  high-level positions at the Company, Defendants Croskrey, Hendrix and Dowdy had the power

  and authority to cause or prevent the Company from engaging in the wrongful conduct complained



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  of herein. Defendants Croskrey, Hendrix and Dowdy were provided with or had unlimited access

  to the documents described above that contained statements alleged by Plaintiffs to be false or

  misleading both prior to and immediately after their publication, and had the ability to prevent the

  issuance of those materials or to cause them to be corrected so as not to be misleading.

                                             COUNT THREE

                      VIOLATIONS OF § 14(A) OF THE EXCHANGE ACT
                  (AGAINST DEFENDANTS DANIMER, CROSKREY, HENDRIX,
                  TARBOX, AMBOIAN, BRAHAM, FURER, FORD AND SWEET)

           247.     Plaintiffs repeat and re-allege each and every allegation contained above as if fully

  set forth herein, however, for purposes of this Count, Plaintiffs expressly exclude and disclaim any

  allegation that could be construed as alleging or sounding in fraud or intentional or reckless

  misconduct. This claim is based solely on negligence.

           248.     The Proxy Statement/Prospectus, documents attached thereto and/or incorporated

  by reference therein, and other solicitations described above contained misstatements of material

  facts and omitted material facts required to be stated in order to make the statements contained

  therein not misleading.

           249.     Defendants Danimer, Hendrix, Tarbox, Amboian, Braham, Furer, Ford and Sweet

  (“Proxy Claims Defendants”) did not update the solicitations or the Proxy Statement/Prospectus

  before the shareholder vote on December 28, 2020.

           250.     The Proxy Claims Defendants, jointly and severally, solicited or permitted use of

  their names in solicitations set forth above in Section V.

           251.     Live Oak and Danimer are issuers of the Proxy Statement/Prospectus.

           252.     Live Oak and Danimer permitted the use of their names in the Proxy

  Statement/Prospectus by allowing the Proxy Statement/Prospectus to make false and misleading

  representations set forth above in Section V.H.



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           253.     Defendant Hendrix signed the Proxy Registration Statement and subsequent

  amendments, signed the cover letter for the Proxy Statement/Prospectus and otherwise permitted

  the use of his name in the Proxy Statement/Prospectus, and solicited the votes of shareholders in

  the October 5, 2020 press release and 8-K filing and Investor Call, the Proxy Registration

  Statement, and the Proxy Statement/Prospectus.

           254.     Defendant Croskrey solicited the votes of Live Oak shareholders, including in the

  October 5, 2020 press release and 8-K filing and Investor Call, the October 6, 2020 Call with TD

  Ameritrade, and the October 2020 Investor Presentation (Attachment to Form 8-K) and in oral

  communications to the media.

           255.     Defendant Amboian signed the Proxy Registration Statement and subsequent

  amendments, and otherwise permitted the use of his name in the Proxy Statement/Prospectus, and

  solicited the votes of shareholders in the Proxy Statement/Prospectus.

           256.     Defendant Tarbox signed the Proxy Registration Statement and subsequent

  amendments, and otherwise permitted the use of her name in the Proxy Statement/Prospectus, and

  solicited the votes of shareholders in the Proxy Statement/Prospectus.

           257.     Defendant Braham signed the Proxy Registration Statement and subsequent

  amendments, and otherwise permitted the use of his name in the Proxy Statement/Prospectus, and

  solicited the votes of shareholders in the Proxy Statement /Prospectus.

           258.     Defendant Furer signed the Proxy Registration Statement and subsequent

  amendments, and otherwise permitted the use of his name in the Proxy Statement/Prospectus, and

  solicited the votes of shareholders in the Proxy Statement/Prospectus.




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           259.     Defendant Ford signed the Proxy Registration Statement and subsequent

  amendments, and otherwise permitted the use of his name in the Proxy Statement/Prospectus, and

  solicited the votes of shareholders in the Proxy Statement/Prospectus.

           260.     Defendant Sweet signed the Proxy Registration Statement and subsequent

  amendments, and otherwise permitted the use of his name in the Proxy/Prospectus, and solicited

  the votes of shareholders in the Proxy Statement/Prospectus.

           261.     By means of the Proxy Statement/Prospectus and documents attached thereto or

  incorporated by reference therein, the Proxy Claims Defendants sought to secure Class members’

  approval of the merger, and solicited proxies from members of the Class.

           262.     Each of the Proxy Claims Defendants acted negligently in making false and

  misleading statements of material facts, omitting material facts required to be stated in order to

  make the statements contained therein not misleading, and failing to update their statements, which

  were false at the time they were issued.

           263.     The solicitations described herein were essential links in the accomplishment of the

  merger. As a result of these solicitations, the Live Oak shareholders approved the De-SPAC

  Transaction on December 28, 2020. Had the true financial condition and operations of Danimer

  been known, members of the Class eligible to vote on the De-SPAC Transaction would have voted

  against it and/or sold their Live Oak common stock.

           264.     Class members eligible to vote on the De-SPAC Transaction were denied the

  opportunity to make an informed decision in voting on the De-SPAC Transaction and were

  damaged as a direct and proximate result of the untrue statements and omissions set forth herein.

           265.     This claim is brought within the applicable statute of limitations.




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           266.     By reason of the foregoing, the Proxy Claims Defendants violated Section 14(a) of

  the Exchange Act, 15 U.S.C. § 78n(a), and Rule 14a-9 promulgated thereunder, 17 C.F.R. 240.14a-

  9.

           267.     For the purposes of this Count, Plaintiffs do not allege that any Defendant acted

  with fraudulent intent and expressly exclude and disclaim any allegation that could be construed

  as alleging or sounding in fraud or intentional or reckless misconduct. This Count is based solely

  on negligence.

           268.     The Defendants named herein violated Section 14(a) of the Exchange Act and Rule

  14a-9 thereunder in that these Defendants solicited proxies from members of the Class by means

  of a Proxy Statement/Prospectus that through Defendants’ negligence contained statements which,

  at the time and in light of the circumstances under which they were made, were false and

  misleading with respect to material facts, and omitted to state material facts necessary to make the

  statements therein not false or misleading.

           269.     Defendants named in this Count, jointly and severally, solicited and/or permitted

  use of their names in solicitations contained in the Proxy Statement/Prospectus and other proxy

  solicitation materials.

           270.     Defendants named in this Count were required to ensure that the Proxy

  Statement/Prospectus and all other proxy solicitation materials fully and fairly disclosed all

  material facts to allow an investor to make an informed investment decision. Defendants named in

  this Count were also required to but did not accurately update these statements between

  dissemination of these documents and the shareholder vote on December 28, 2020.

           271.     By means of the Proxy Statement/Prospectus and documents attached thereto or

  incorporated by reference therein and other proxy solicitation materials, Defendants named in this




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  Count sought to secure Class members’ approval of the De-SPAC Transaction and solicited

  proxies from members of the Class.

           272.     The   false   and   misleading    statements    and    omissions    in   the   Proxy

  Statement/Prospectus and other proxy solicitation materials are material in that a reasonable

  stockholder would consider them important in deciding how to vote on the De-SPAC Transaction

  and/or whether to exercise their cash conversion right(s). In addition, a reasonable investor would

  view a full and accurate disclosure as significantly altering the total mix of information made

  available in the Proxy Statement/Prospectus, additional proxy solicitation materials, and in other

  information reasonably available to stockholders.

           273.     Members of the Class eligible to vote on the De-SPAC Transaction were misled by

  the false and misleading statements and omissions made by Defendants named in this Count, were

  denied the opportunity to make a fully informed decision in voting on the De-SPAC Transaction

  with Live Oak without having been advised of material facts. Accordingly, members of the Class

  suffered foreseeable damages and were damaged as a direct and proximate result of the untrue

  statements and omissions set forth herein.

           274.     By reason of the foregoing, Defendants violated Section 14(a) of the Exchange Act,

  15 U.S.C. § 78n(a), and Rule 14a-9, promulgated thereunder, 17 C.F.R. § 240.14a-9.

                                              COUNT FOUR

                     VIOLATIONS OF § 20(A) OF THE EXCHANGE ACT
                        IN CONNECTION WITH THE § 14(A) CLAIMS
                      (AGAINST DEFENDANTS CROSKREY, HENDRIX,
                  TARBOX, AMBOIAN, BRAHAM, FURER, FORD AND SWEET)

           275.     Plaintiffs repeat and re-allege each and every allegation contained above as if fully

  set forth herein, however, for purposes of this Count, Plaintiffs expressly exclude and disclaim any

  allegation that could be construed as alleging or sounding in fraud or intentional or reckless




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  misconduct. The underlying violation of Section 14(a) alleged in Count Three is based solely on

  negligence.

           276.     During their tenures as officers and/or directors Danimer or Live Oak, each of

  Defendants Croskrey, Hendrix, Tarbox, Amboian, Braham, Furer, Ford and Sweet was a

  controlling person of Danimer or Live Oak within the meaning of Section 20(a) of the Exchange

  Act. By reason of their positions of control and authority as officers and/or directors of Danimer

  or Live Oak, these Defendants had the power and authority to cause Danimer or Live Oak to

  engage in the wrongful conduct complained of herein. These Defendants were able to and did

  control, directly and indirectly, the content of the Proxy and the other solicitations described herein

  made by Danimer or Live Oak during the Class Period, thereby causing the dissemination of the

  false and misleading statements and omissions of material facts as alleged herein.

           277.     Defendants named in this Count participated in Danimer or Live Oak Board

  meetings and conference calls, reviewed the De-SPAC Transaction Agreement and voted to

  approve the De-SPAC Transaction, signed the Proxy Registration Statement, and solicited

  approval of the De-SPAC Transaction through the Live Oak Board’s recommendation to vote in

  favor of the De-SPAC Transaction, which repeatedly appeared throughout the Proxy

  Statement/Prospectus. Defendants named in this Count also signed numerous other filings with

  the SEC.

           278.     In their capacities as senior corporate officers and/or directors of Danimer or Live

  Oak, and as more fully described above, these Defendants participated in the misstatements and

  omissions set forth above. Indeed, Defendants named in this Count had access to information

  regarding the circumstances surrounding the De-SPAC Transaction, including the terms of the De-

  SPAC Transaction, the due diligence that had and had not been performed, and analyses of the




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  financial conditions, technology, and public representations of both Live Oak and Danimer. As a

  result of the foregoing, Defendants named in this Count, as a group and individually, were control

  persons within the meaning of Section 20(a) of the Exchange Act of Danimer or Live Oak.

           279.     As set forth above, the Defendants named in Count Three violated Section 14(a) of

  the Exchange Act by their negligent acts and omissions as alleged in this Complaint. By virtue of

  their positions as controlling persons of Danimer or Live Oak, and as a result of their own

  aforementioned conduct, Defendants named in this Count are liable pursuant to Section 20(a) of

  the Exchange Act, jointly and severally with, and to the same extent as Danimer or Live Oak are

  liable under Section 14(a) of the Exchange Act, to members of the Class. Moreover, as detailed

  above, during the respective times these Defendants served as officers and/or directors of Danimer

  or Live Oak, each of these Defendants is responsible for the material misstatements and omissions

  made by Danimer or Live Oak.

           280.     Class members eligible to vote on the De-SPAC Transaction were denied the

  opportunity to make an informed decision in voting on the De-SPAC Transaction and were

  damaged as a direct and proximate result of the untrue statements and omissions in the Proxy

  Statement/Prospectus and other solicitations described herein.

           281.     This claim is brought within the applicable statute of limitations.

           282.     By reason of the foregoing, Defendants named in this Count violated Section 20(a)

  of the Exchange Act, 15 U.S.C. § 78t(a).

                                              COUNT FIVE

                  FOR VIOLATION OF SECTION 11 OF THE SECURITIES ACT
                   (AGAINST DEFENDANTS DANIMER, HENDRIX, TARBOX,
                      AMBOIAN, BRAHAM, FURER, FORD AND SWEET)

           283.     Plaintiffs repeat and reallege each and every allegation above as if fully set forth

  herein, however, for purposes of this claim, Plaintiffs expressly exclude and disclaim any



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  allegation that could be construed as alleging or sounding in fraud or intentional or reckless

  misconduct. This claim is based solely on strict liability or negligence.

           284.     Defendants’ liability under this Count is predicated on the participation of each

  Defendant named in this Count in conducting the De-SPAC Transaction pursuant to the

  Registration Statement, which contained untrue statements of material fact, or omitted to disclose

  material facts.

           285.     On December 29, 2020, Live Oak and Danimer issued a press release that stated

  the De-SPAC Transaction was completed, and that it was unanimously approved by the board of

  directors of Live Oak and was approved at a special meeting of Live Oak stockholders on

  December 28, 2020.

           286.     In connection with the closing of the De-SPAC Transaction, Live Oak changed its

  name to Danimer and the common stock of Danimer Scientific would trade under the ticker symbol

  “DNMR” on the NYSE beginning December 30, 2020.

           287.     On December 30, 2020, Danimer opened at $30.50 per share at on the NYSE.

           288.     In violation of the Securities Act, the Registration Statement contained untrue

  statements of material fact and omitted to state material facts required to be disclosed or necessary

  to make the statements not misleading as alleged above.

           289.     This Cause of Action does not sound in fraud. Plaintiffs do not allege that

  Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford and Sweet acted with scienter or

  fraudulent intent, which are not elements of a Section 11 claim.

           290.     This Count is brought by Plaintiffs pursuant to Section 11 of the Securities Act, 15

  U.S.C. § 77k, against the Defendants named in this Count on behalf of themselves and members

  of the Class who purchased or otherwise acquired Danimer securities pursuant and/or traceable to




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  the Registration Statement issued in connection with the De-SPAC Transaction and were damaged

  by the acts alleged herein.

           291.     Live Oak was the issuer, within the meaning of Section 11 of the Securities Act and

  pursuant to the Registration Statement, of the registered securities offered in the De-SPAC

  Transaction. As part of the De-SPAC Transactions, Live Oak changed its name to Danimer.

           292.     Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford and Sweet signed the

  Registration Statement within the meaning of Section 11 of the Securities Act.

           293.     The Danimer securities described in this Count were issued and offered pursuant to

  the Registration Statement.

           294.     All investors who purchased or otherwise acquired the registered securities after

  IPO are traceable to the Registration Statement.

           295.     As alleged above in Section V.H, the Registration Statement contained untrue

  statements of material fact.

           296.     Defendants named in this Count issued and disseminated, caused to be issued and

  disseminated, and participated in the issuance and dissemination of, material misstatements to the

  investing public which were contained in the Registration Statement, as set forth above.

           297.     In connection with offering the registered securities to the public and the sale of

  those securities, Defendants named in this Count, directly or indirectly, used the means and

  instrumentalities of interstate commerce, the United States mails and a national securities

  exchange.

           298.     Class members did not know, nor in the exercise of reasonable diligence could they

  have known, that the Registration Statement contained untrue statements of material fact or failed




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  to disclose material facts when they purchased or otherwise acquired Danimer securities pursuant

  and/or traceable to the De-SPAC Transaction.

           299.     As a direct and proximate result of the acts and omissions of Defendants in violation

  of the Securities Act, the Class suffered substantial damage in connection with its purchase or

  acquisition of Danimer securities in the De-SPAC Transaction.

           300.     By reason of the foregoing, Defendants Hendrix, Tarbox, Amboian, Braham, Furer,

  Ford and Sweet are liable under Section 11 of the Securities Act to the members of the Class who

  purchased or otherwise acquired Danimer securities pursuant and/or traceable to the Registration

  Statement.

           301.     This claim is brought within one year of the discovery of the untrue statements in

  the Registration Statement, and within three years after the issuance of the Registration Statement.

           302.     On May 14, 2021, Danimer’s common stock closed at $17.72 per share.

                                               COUNT SIX

              FOR VIOLATION OF SECTION 12(A)(2) OF THE SECURITIES ACT
                     (AGAINST DEFENDANTS HENDRIX, TARBOX,
                    AMBOIAN, BRAHAM, FURER, FORD AND SWEET)

           303.     Plaintiffs repeat and reallege each and every allegation above as if fully set forth

  herein, however, for purposes of this claim, Plaintiffs expressly exclude and disclaim any

  allegation that could be construed as alleging or sounding in fraud or intentional or reckless

  misconduct. This claim is based solely on negligence.

           304.     This Cause of Action is brought pursuant to Section 12(a)(2) of the Securities Act,

  15 U.S.C. § 771(a)(2), on behalf of the Class, against Defendants Hendrix, Tarbox, Amboian,

  Braham, Furer, Ford and Sweet.




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           305.     This Cause of Action does not sound in fraud. Plaintiffs do not allege that

  Defendants acted with scienter or fraudulent intent, which are not elements of a Section 12(a)(2)

  claim.

           306.     Defendants named in this Count promoted, offered or sold Danimer securities to

  Plaintiffs and other members of the Class for Defendants’ financial benefit and the benefit of their

  associates by means of the Prospectus and oral communications which, as alleged above, included

  untrue statements of material fact or omitted to state material facts necessary in order to make the

  statements, in the light of the circumstances under which they were made, not misleading.

           307.     The Defendants named in this Count owed Plaintiffs and the other members of the

  Class who purchased or otherwise acquired Danimer securities pursuant to the Proxy

  Statement/Prospectus the duty to make a reasonable and diligent investigation of the statements

  contained in the Proxy Statement/Prospectus to ensure that such statements were true and that there

  was no omission to state a material fact required to be stated in order to make the statements

  contained therein not misleading. Defendants named in this Count, in the exercise of reasonable

  care, should have known of the misstatements and omissions contained in the Proxy

  Statement/Prospectus and oral communications as set forth above.

           308.     Plaintiffs did not know, nor in the exercise of reasonable diligence could Plaintiffs

  have known, of the untruths and omissions contained in the Proxy Statement/Prospectus or oral

  communications at the time Plaintiffs acquired Danimer securities.

           309.     The Defendants named in this Count, directly or indirectly, used the means and

  instrumentalities of interstate commerce, the United States mails and a national securities

  exchange.




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           310.     By reason of the conduct alleged herein, the Defendants named in this Count

  violated Section 12(a)(2) of the Securities Act.

           311.     As a direct and proximate result of such violations, Plaintiffs and the other members

  of the Class who purchased or otherwise acquired Danimer securities pursuant to the Proxy

  Statement/Prospectus or oral communications sustained substantial damages in connection with

  their purchases of stock. Accordingly, Plaintiffs and the other members of the Class who

  purchased or otherwise acquired Danimer securities issued pursuant to the Proxy

  Statement/Prospectus or oral communications, seek damages to the extent permitted by law or seek

  to rescind and recover the consideration paid for their shares, and hereby tender their Danimer

  securities to Defendants named in this Count.

           312.     This claim is brought within one year of the discovery of the untrue statements in

  the Registration Statement, and within three years after the issuance of the Registration Statement.

                                             COUNT SEVEN

                  FOR VIOLATION OF SECTION 15 OF THE SECURITIES ACT
                        (AGAINST DEFENDANTS HENDRIX, TARBOX,
                      AMBOIAN, BRAHAM, FURER, FORD AND SWEET)

           313.     Plaintiffs repeat and reallege each and every allegation above as if fully set forth

  herein, however, for purposes of this claim, Plaintiffs expressly exclude and disclaim any

  allegation that could be construed as alleging or sounding in fraud or intentional or reckless

  misconduct. The underlying violations of the Securities Act are based solely on strict liability or

  negligence.

           314.     This Count is brought by Plaintiffs pursuant to Section 15 of the Securities Act, 15

  U.S.C. §77o, against Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford and Sweet on

  behalf of themselves and members of the Class who purchased or otherwise acquired Danimer




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  securities pursuant and/or traceable to the Registration Statement and were damaged by the acts

  alleged herein.

           315.     As set forth in Counts 5 and 6, Live Oak is strictly liable under Sections 11 and

  12(a)(2) of the Securities Act for untrue statements of material fact in the Registration Statement.

           316.     This Cause of Action does not sound in fraud. Plaintiffs do not allege that

  Defendants named in this Count acted with scienter or fraudulent intent, which are not elements

  of a Section 15 claim.

           317.     At all relevant times, Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford

  and Sweet were controlling persons of Live Oak within the meaning of Section 15 of the Securities

  Act.

           318.     As set forth herein, by virtue of their positions, voting power, ownership, rights as

  against Live Oak, and/or specific acts, Defendants Hendrix, Tarbox, Amboian, Braham, Furer,

  Ford and Sweet had the requisite power to directly or indirectly control or influence Live Oak to

  engage in the acts described herein, including by causing Live Oak to issue the Registration

  Statement and close the De-SPAC Transaction, and exercised such power.

           319.     By virtue of their positions as senior officers, or members of Live Oak’s board, or

  their status as signatories of the Registration Statement, each of Defendants Hendrix, Tarbox,

  Amboian, Braham, Furer, Ford and Sweet had the power to control, and did control, Live Oak in

  closing the De-SPAC Transaction IPO, including controlling the contents of the Registration

  Statement, which contained materially false statements.

           320.     By reason of the aforementioned conduct and by virtue of their positions as

  controlling persons of Live Oak, Defendants Hendrix, Tarbox, Amboian, Braham, Furer, Ford and

  Sweet are liable under Section 15 of the Securities Act, jointly and severally with, and to the same




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  extent as Live Oak is liable under Sections 11 and 12(a)(2) of the Securities Act, to members of

  the Class who purchased or otherwise acquired Danimer securities pursuant and/or traceable to the

  Registration Statement.

           321.     As a direct and proximate result of the conduct of Defendants Hendrix, Tarbox,

  Amboian, Braham, Furer, Ford and Sweet, members of the Class suffered damages in connection

  with their purchase or acquisition of Danimer securities.

                                             COUNT EIGHT

              FOR VIOLATION OF SECTION 11 OF THE SECURITIES ACT
              (AGAINST DEFENDANTS DANIMER, CROSKREY, DOWDY,
           AMBOIAN, HENDRIX, BASCO, CALHOUN, HUNT, NODA AND PRATT)

           322.     Plaintiffs repeat and reallege each and every allegation above as if fully set forth

  herein, however, for purposes of this claim, Plaintiffs expressly exclude and disclaim any

  allegation that could be construed as alleging or sounding in fraud or intentional or reckless

  misconduct. This claim is based solely on strict liability or negligence.

           323.     Defendants’ liability under this Count is predicated on the participation of each

  Defendant in conducting the February 2021 Offering pursuant to the Feb. 2021 Registration

  Statement, which contained untrue statements of material fact, or omitted to disclose material facts.

           324.     Danimer was the issuer, within the meaning of Section 11 of the Securities Act and

  pursuant to the Feb. 2021 Registration Statement, of the registered securities offered. Defendants

  Croskrey, Dowdy, Amboian, Hendrix, Basco, Calhoun, Hunt, Noda and Pratt signed the Feb. 2021

  Registration Statement within the meaning of Section 11 of the Securities Act.

           325.     The Danimer securities described in this Count were issued and sold pursuant to

  the Feb. 2021 Registration Statement. According to the Feb. 2021 Registration Statement, on

  February 12, 2021, the closing price of Danimer’s Common Stock was $57.81 and the closing

  price for Danimer’s publicly traded warrants was $40.26.



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           326.     As alleged above, the Feb. 2021 Registration Statement contained untrue

  statements of material fact.

           327.     Defendants named in this Count issued and disseminated, caused to be issued and

  disseminated, and participated in the issuance and dissemination of, material misstatements to the

  investing public which were contained in the Feb. 2021 Registration Statement, as set forth above.

           328.     In connection with offering the registered securities to the public and the sale of

  those securities in the February 2021 Offering, Defendants, directly or indirectly, used the means

  and instrumentalities of interstate commerce, the United States mails and a national securities

  exchange.

           329.     Class members did not know, nor in the exercise of reasonable diligence could they

  have known, that the Feb. 2021 Registration Statement contained untrue statements of material

  fact or failed to disclose material facts when they purchased or acquired Danimer securities

  pursuant and/or traceable to the February 2021 Offering.

           330.     As a direct and proximate result of the acts and omissions of Defendants named in

  this count in violation of the Securities Act, the Class suffered substantial damage in connection

  with its purchase or acquisition of Danimer securities in the February 2021 Offering.

           331.     By reason of the foregoing, Defendants Danimer, Croskrey, Dowdy, Amboian,

  Hendrix, Basco, Calhoun, Hunt, Noda and Pratt are liable under Section 11 of the Securities Act

  to the members of the Class who purchased or otherwise acquired Danimer securities pursuant

  and/or traceable to the Feb. 2021 Registration Statement.

           332.     On May 14, 2021, Danimer’s common stock closed at $17.72 per share, and

  Danimer warrants closed at $6.81.




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           333.     This claim is brought within one year of the discovery of the untrue statements in

  the Feb. 2021 Registration Statement, and within three years after the issuance of the Feb. 2021

  Registration Statement.

                                              COUNT NINE

              FOR VIOLATION OF SECTION 15 OF THE SECURITIES ACT
                   (AGAINST DEFENDANTS CROSKREY, DOWDY,
           AMBOIAN, HENDRIX, BASCO, CALHOUN, HUNT, NODA AND PRATT)

           334.     Plaintiffs repeat and reallege each and every allegation above as if fully set forth

  herein, however, for purposes of this claim, Plaintiffs expressly exclude and disclaim any

  allegation that could be construed as alleging or sounding in fraud or intentional or reckless

  misconduct. The underlying violations of the Securities Act are based solely on strict liability or

  negligence.

           335.     This Count is brought by Plaintiffs pursuant to Section 15 of the Securities Act, 15

  U.S.C. §77o, against Defendants Croskrey, Dowdy, Amboian, Hendrix, Basco, Calhoun, Hunt,

  Noda and Pratt on behalf of themselves and members of the Class who purchased or otherwise

  acquired Danimer securities pursuant and/or traceable to the Feb. 2021 Registration Statement and

  were damaged by the acts alleged herein.

           336.     As set forth in Counts 7 and 8, Danimer is strictly liable under Sections 11 and

  12(a)(2) of the Securities Act for untrue statements of material fact in the Feb. 2021 Registration

  Statement.

           337.     This Cause of Action does not sound in fraud. Plaintiffs do not allege that

  Defendants named in this Count acted with scienter or fraudulent intent, which are not elements

  of a Section 15 claim.




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           338.     At all relevant times, Defendants Croskrey, Dowdy, Amboian, Hendrix, Basco,

  Calhoun, Hunt, Noda and Pratt were controlling persons of Danimer within the meaning of Section

  15 of the Securities Act.

           339.     As set forth herein, by virtue of their positions, voting power, ownership, rights as

  against Danimer, and/or specific acts, Defendants Croskrey, Dowdy, Amboian, Hendrix, Basco,

  Calhoun, Hunt, Noda and Pratt had the requisite power to directly or indirectly control or influence

  Danimer to engage in the acts described herein, including by causing Danimer to close the

  February 2021 Offering, and exercised such power.

           340.     By virtue of their positions as senior officers, or members of Danimer’s board, and

  their status as signatories of the Feb. 2021 Registration Statement, Defendants Croskrey, Dowdy,

  Amboian, Hendrix, Basco, Calhoun, Hunt, Noda and Pratt had the power to control, and did

  control, Danimer in closing the Feb. 2021 Offering, including controlling the contents of the Feb.

  2021 Registration Statement, which contained materially false statements.

           341.     By reason of the aforementioned conduct and by virtue of their positions as

  controlling persons of Danimer, Defendants Croskrey, Dowdy, Amboian, Hendrix, Basco,

  Calhoun, Hunt, Noda and Pratt are liable under Section 15 of the Securities Act, jointly and

  severally with, and to the same extent as Danimer is liable under Sections 11 and 12(a)(2) of the

  Securities Act, to members of the Class who purchased or otherwise acquired Danimer securities

  pursuant and/or traceable to the Feb. 2021 Registration Statement.

           342.     As a direct and proximate result of the conduct of Defendants Croskrey, Dowdy,

  Amboian, Hendrix, Basco, Calhoun, Hunt, Noda and Pratt, members of the Class suffered damages

  in connection with their purchase or acquisition of Danimer securities pursuant to or traceable to

  the Feb. 2021 Offering.




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                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

           A.       Determining that this action is a proper class action pursuant to Rule 23(a) and

  23(b)(3) of the Federal Rules of Civil Procedure on behalf of the Class as defined herein, and

  certifying Plaintiffs as class representative pursuant to Rule 23 of the Federal Rules of Civil

  Procedure and designating Lead Counsel as Class Counsel;

           B.       awarding compensatory and punitive damages in favor of Plaintiffs and the other

  class members against all Defendants, jointly and severally, for all damages sustained as a result

  of Defendants’ wrongdoing, in an amount to be proven at trial, including pre-judgment and post-

  judgment interest thereon, or rescission or a recessionary measure of damages;

           C.       awarding Plaintiffs and other members of the Class their costs and expenses in this

  litigation, including reasonable attorneys’ fees and experts’ fees and other costs and disbursements;

  and

           D.       awarding Plaintiffs and the other Class members such other relief as this Court

  may deem just and proper.

                                     DEMAND FOR JURY TRIAL

           Plaintiffs hereby demand a trial by jury in this action of all issues so triable.

  Dated: January 19, 2022                          Respectfully submitted,

                                                   HAGENS BERMAN SOBOL SHAPIRO LLP

                                                   By     /s/ Reed R. Kathrein
                                                          REED R. KATHREIN
                                                   Reed R. Kathrein (admitted Pro Hac Vice)
                                                   Lucas E. Gilmore (admitted Pro Hac Vice)
                                                   Wesley A. Wong (Pro Hac Vice forthcoming)
                                                   HAGENS BERMAN SOBOL SHAPIRO LLP




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                                      Additional Counsel




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                                  CERTIFICATE OF SERVICE

           I hereby certify that I am the ECF User whose ID and password are being used to

  electronically file the foregoing with the Clerk of the Court using the CM/ECF system, which will

  send notification of such filing to the e-mail addresses registered, as denoted on the Electronic

  Mail Notice List, and I hereby certify that I have caused to be mailed a paper copy of the foregoing

  document via the United States Postal Service to the non-CM/ECF participants indicated on the

  Manual Notice List generated by the CM/ECF system.


                                                  /s/ Reed R. Kathrein
                                                  REED R. KATHREIN




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